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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                            SECTION “H” (5)
THIS DOCUMENT RELATES TO
ALL CASES

 EX PARTE MOTION FOR LEAVE TO FILE PLAINTIFFS’ REPLY IN SUPPORT OF
  PLAINTIFFS’ MOTION FOR LEAVE TO FILE PLAINTIFFS’ THIRD AMENDED
                  MASTER LONG-FORM COMPLAINT

       NOW INTO COURT comes Plaintiffs, through the Plaintiffs’ Steering Committee

(“PSC”), who respectfully requests leave of Court to file the attached Plaintiffs’ Reply in Support

of Plaintiffs’ Motion for Leave to File Plaintiffs’ Third Amended Master Long-Form Complaint.

The attached reply memorandum will assist the Court in evaluating the issues.

       WHEREFORE, Plaintiffs pray that this Honorable Court grant this motion for leave to file

the attached Plaintiffs’ Motion for Leave to File Plaintiffs’ Third Amended Master Long-Form

Complaint.

 Dated: December 3, 2019                        Respectfully submitted,


 /s/ Christopher L. Coffin                      /s/ Karen B. Menzies
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all

counsel of record who are CM/ECF participants.

                                             /s/ M. Palmer Lambert
                                             M. PALMER LAMBERT




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                              MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                         SECTION “H” (5)
THIS DOCUMENT RELATES TO:
ALL CASES

                                    [PROPOSED] ORDER

        Considering the foregoing Ex Parte Motion for Leave to File Plaintiffs’ Reply in Support

of Plaintiffs’ Motion for Leave to File Plaintiffs’ Third Amended Master Long-Form Complaint,

        IT IS ORDERED that said Motion is GRANTED;

        IT IS FURTHER ORDERED that the Clerk of Court shall file Plaintiffs’ Reply in Support

of Plaintiffs’ Motion for Leave to File Plaintiffs’ Third Amended Master Long-Form Complaint

into the record in this matter.

        New Orleans, Louisiana, this ___ of December, 2019.



                                            _____________________________________
                                            HON. JANE TRICHE MILAZZO
                                            UNITED STATES DISTRICT JUDGE




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                            SECTION “H” (5)
THIS DOCUMENT RELATES TO
ALL CASES

   PLAINTIFFS’ REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO
    FILE PLAINTIFFS’ THIRD AMENDED MASTER LONG-FORM COMPLAINT

       Plaintiffs are not adding new theories or claims for relief to their proposed Third Amended

Master Complaint. Rather, Plaintiffs seek to clarify certain allegations regarding permanent hair

loss that Defendants have repeatedly misconstrued, claiming that Plaintiffs have defined

permanent hair loss as occurring “no later than” six months following chemotherapy. This is

simply inaccurate, and Plaintiffs seek to correct this misunderstanding by adding facts regarding

(1) the definitions used for permanent hair-loss and (2) Sanofi’s knowledge of permanent hair-loss

among women using Taxotere but repeated and deliberate failure to warn women about this in the

United States.

       First, Plaintiffs’ proposed amendments clarify the definition of permanent hair loss to align

with medical literature and sworn statements from Sanofi’s employees. Defendants do not dispute

any of the facts contained in Plaintiffs’ proposed amendment on this issue. They nonetheless

object, claiming that this litigation has been operating under a single definition of permanent hair

loss that Plaintiffs “were injured no later than six months after finishing chemotherapy.” This is

simply not true. Neither Plaintiffs, Plaintiffs’ experts, nor the medical community at large have

accepted such a strict definition for chemotherapy induced permanent hair loss. Indeed, outside

of the courtroom, Sanofi itself has not adopted this six-month definition. Rather, Sanofi has




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internally defined “persistent hair loss” as occurring at 12 months, 24 months, and 48 months post-

chemotherapy.1        Defendants ignore this, instead claiming that additional discovery will be

necessary to address the prejudice inflicted by these “new definitions” of permanent hair-loss. But

these definitions are not new. In fact, it was through discovery that Plaintiffs learned that Sanofi

defined “persistent hair loss” using the more conservative 12 months, 24 months, and 48 months.

Moreover, Plaintiffs’ experts have not used the definition that permanent hair loss manifests itself

“no later than six months following chemotherapy” as suggested by Defendants. For example, Dr.

Kessler’s original Expert Report from October of 2018 includes an entire section devoted to the

various definitions of permanent hair loss, including those used internally by Sanofi2—a point he

has reiterated at trial and in his most recent deposition taken just last week.3 Additionally,

Plaintiffs’ experts Dr. Tosti, Dr. Feigal, and Dr. Plunkett have all stated that permanent hair loss

requires “at least” or “more than” six months of no hair regrowth,4 pointing to medical literature

that defines permanent hair loss ranging from six months to 36 months. This is far different than

the definition put forth by Defendants that permanent hair loss manifests itself “no later than” six

months no discovery has never been limited to such a definition. Accordingly, Plaintiffs’ proposed

amendment serves to align Plaintiffs’ Master Complaint with the undisputed facts case and clarify

that there is no definitive definition of permanent hair loss as purported by Defendants.

         Second, Plaintiffs’ proposed amendments add allegations regarding Sanofi’s knowledge

that its U.S. label failed to warn women about the risk of permanent hari loss and Sanofi’s efforts

to remove information about permanent hair loss from its Facebook Page. Defendants objects to



1
  Ex. A, Sanofi_04353204 at 18; Ex. B, Sanofi_04878450 at 4; Ex. C, Sanofi_01268143 at 12, Ex. D, Palatinsky
Dep. 444:14-445:9.
2
  Ex. E, Kessler Rep. at 20-21.
3
  Ex. F, Trial Tr. 432:4-433:2, Sept. 17, 2019; Ex. G. Kessler Dep. [Rough] 107:12-108:15, Nov. 26, 2019.
4
  Ex. H, Tosti Rep. at 12-17, Ex. I, Feigal Rep. at 55-60; Ex. J. Plunkett Rep. at 14-18; see also Ex. K, Madigan Rep.
20-26


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these allegations, claiming that additional discovery would be necessary to address the prejudice

posed by these new allegations. But these allegations are not new and have been a part of the

“record” since December of 2018—a point which Defendants acknowledge. In addition, these

allegations do not add a new claim or theory—rather, they further support Plaintiffs’ Fraudulent

Concealment claim as pled in Plaintiffs’ Master Complaint.

       Defendants’ unfounded objections should be overruled.

                                            Conclusion

       Defendants seek to prevent Plaintiffs from (1) clarifying the definition of permanent hair

loss that Defendants know is not based in fact and (2) adding detail to Plaintiffs’ previously pled

claim for fraudulent concealment. But Defendants suffer little, if at any, prejudice from Plaintiffs’

proposed Third Amended Master Complaint. None of the allegations contained therein are “new”

to Defendants and Defendants do not dispute the factual underpinnings. Defendants fail to offer a

valid basis in which to deny Plaintiffs’ proposed amendment under Rule 15A liberal standard for

amending complaints.

 Dated: December 3, 2019                         Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all

counsel of record who are CM/ECF participants.

                                             /s/ M. Palmer Lambert
                                             M. PALMER LAMBERT




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                   EXHIBITS A – K
                    (UNDER SEAL)
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                        Exhibit A
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                 CLINICAL OVERVIEW DOCETAXEL - PERSISTENT ALOPECIA




         Date:       18-Jan-2011                     Total No. of pages: 45   Author: Emanuel Palatinsky, MD




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         According to template: QSD-002592 VERSION N°1.0 (20-OCT-2009)




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         Clinical Overview Docetaxel - Persistent alopecia              18-Jan-2011
         XRP6976                                                        Version - Final


                                                                        Solicited         Unsolicited
                                  Outcome                                                                  ALL CASES
                                                                         Cases              Cases

                  Recovered/Recovering/Recovered
                                           w/sequelae                       122               226                348

                                 Notrecovered                               102               11Qa               212


                                     Total                                 1,024              596               1,620

                  acase2010SA051472
                                 waserroneously
                                              capturedwithoutcomeunknownin PVdatabase,but appearscorrectlyin tableabove.


         The 1,060 cases reporting an unknown outcome of the alopecia include 3 reports (1 solicited, and 2
         unsolicited) where a "fatal" outcome of alopecia was entered in the database. All these 3 cases
         (JP0l-00292, EG0l-00001, and JP0l-02889), however, reported a fatal outcome due to the
         underlying cancer. In any event, the cases where the outcome of alopecia was unknown will not be
         discussed further.
         The remaining 560 (224 solicited, and 336 unsolicited) cases with a reported outcome were further
         reviewed to determine if, based on the available information and a sufficiently long outcome, the
         report met ( or nearly met 1) the definition of persistent alopecia: not recovered 2:12 months following
         the last dose of chemotherapy.
         In 418 cases, the latest outcome was reported less than 12 months following the last dose of
         chemotherapy.
         The remaining 142 cases (23 solicited and 119 unsolicited) were identified as cases reporting an
         outcome of alopecia at least 12 months following the last dose of chemotherapy (i.e., they all met or
         nearly met the definition of persistent alopecia). Of these 142 cases, 24 reports of persistent alopecia
         did not have sufficient information (e.g., prior of concurrent anti-cancer treatments) for a medical
         assessment and are summarized separately in table 2. The CIOMS files for these 142 cases are
         provided in Appendix 1, pg. 047 .




         1
             A report "nearly" met the definition of persistent alopecia if the alopecia was reported as not recovered
             without a specified duration of time (no calendar date), but with sufficient information in the case narrative to
             evince that it had not recovered for "J 1 months", or "about 1 year", "almost 1 year", etc. (considered
             sufficiently close to the 12 months needed for the definition of persistent alopecia) following the last dose of
             chemotherapy.

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                        Exhibit B
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                        Exhibit C
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          2.5 CLINICAL OVERVIEW: DOCETAXEL AND PERMANENT ALOPECIA




               Author(s): Nanae Hangai, MD, PhD


         Date:          11-Nov-2015                             Total number of pages:   37




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         2.5 Clinical Overview: Docetaxel and Permanent Alopecia                                          11-Nov-2015
         XRP6976 - Docetaxel - GPE-BW-2015-00954                                                         Version: Final



                                                     Preferred Term             Cases



         There were 1 194 solicited cases and 978 unsolicited cases. For the unsolicited cases, 711 were
         reported from health care professionals (HCP) and 267 were from consumers. One thousand six-
         hundred eighty-two (1 682) cases reported female patients, 345 cases reported male patients, and
         140 cases reported either unknown gender or were blank.

         Docetaxel indication was reported in 2 022 cases. The most reported indication, when specific
         primary site was noted, was "breast cancer" including any kinds (n=l,358 (62.5%)) followed by
         any "lung cancer" excluding small cell lung cancer (n=278 (12.7%)), any "prostate cancer" (n=77
         (3.5%)), any "gastric cancer" (n=52 (2.3%)), any "ovarian cancer" (n=41 (1.8%)), any "head and
         neck cancer" (n=26 (1. 1%)), and any "oesophageal cancer" (n=26 (1. 1%)).

         The case outcomes for alopecia are shown in Table 3. The majority (60.7%) of cases reported
         unknown outcome.

                                                           Table 3 - Case outcomes

                  Outcome                         Solicited                    Unsolicited              All
                  Unknown*                            900                           420                 1 320
                 Not recovered                        136                           254                 390

                  Recovering                           95                           184                 279
                  Recovered                            55                            81                 136
            Recoveredw/ sequelae                       6                             36                  42
                    Fatal**                                                          3                   4
                   Stabilized                                                        0

                     Total                           1194                           978                 2172
         *includesblank
         **Fataloutcomereportedto otherADRs, causeof deathwasreportedothermedicalcondition
                                                                                         .


         5.3.2.1 Permanent alopecia

         One hundred and seventeen (117) cases (5.3%) reported a verbatim event that included either
         "permanent " or "irreversible ", or alopecia that lasted more than 2 years with an outcome of not
         recovered/recovering/unknown. Ninety six (96) cases were unsolicited reports; 73 from HCPs
         (including 10 literature cases) and 23 from consumers. One hundred and six (106) cases reported
         female patients and 11 cases did not specify the gender. Ninety-nine (99) cases (84.6%) reported
         any type of breast cancer as the indication for docetaxel, 1 case reported ovarian cancer, and
         remaining cases did not specify. The majority of cases received combination chemotherapy
         regimens (n=82 (70.0%)). The commonly used regimens were FEC-T (5-fluorouracil, epirubicin,
         cyclophosphamide followed by docetaxel) (n=46 (39.3%)), AC-T (doxorubicin,
         cyclophosphamide followed by docetaxel) (n=9 (7.6%)), EC-T (epirubicin, cyclophosphamide
         followed by docetaxel) (n=5 (4.2%)), TCH (docetaxel, carboplatin, trastuzumab) (n=5 (4.2%)),
         and TAC (docetaxel, doxorubicin, cyclophosphamide) (n=4 (3.4%)). Some of patients who


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Confidential                                                                                   Sanofi         01268154
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                        Exhibit D
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                      Emanuel  Palatinsky, M.D.

 1                UNITED STATES DISTRICT COURT

 2                  EASTERN DISTRICT OF LOUISIANA

 3

 4

 5    *******************************

 6    IN RE:   TAXOTERE (DOCETAXEL)          MDL NO. 2740

 7    PRODUCTS LIABILITY LITIGATION           SECTION H

 8    THIS DOCUMENT RELATES TO:              JUDGE MILAZZO

 9    ALL CASES                              MAG. JUDGE NORTH

10    *******************************

11

12

13                        VIDEOTAPED DEPOSITION OF:

14                        EMANUEL PALATINSKY, M.D.

15                            ROPES & GRAY LLP

16                            Prudential Tower

17                           800 Boylston Street

18                          Boston, Massachusetts

19                 August 10, 2018            8:38 a.m.

20

21

22

23                            Darlene M. Coppola

24                        Registered Merit Reporter

25                   Certified Realtime Reporter

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                      Emanuel  Palatinsky, M.D.

 1               A.       No, I cannot recall the details.

 2               Q.       Do you recall a story that was

 3          published in a newspaper covering some women

 4          who were complaining about having not been

 5          warned of but yet having ended up with

 6          alopecia of a permanent nature?

 7                               MR. RATLIFF:   Object to form.

 8               A.       I recall some details about a story,

 9          but I don't remember the content of the story.

10                        And it's normal that -- in response to

11          your previous question, it's normal that the

12          company wants to respond to this type of news.

13          BY MR. BACHUS:

14               Q.       All right.   In your -- in your e-mail,

15          you make the statement in the second sentence

16          that, "Even if we make the reasonable

17          assumption that persistent alopecia after more

18          than four years is consistent with permanent

19          alopecia."

20                        Do you see that?

21               A.       Yes, I can see what I wrote.

22               Q.       You agree with that, that it's

23          reasonable to assume that alopecia that

24          persists for more than four years is

25          consistent with a definition of permanent

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                      Emanuel  Palatinsky, M.D.

 1          alopecia?

 2               A.       It was an assumption.    It was a

 3          reasonable assumption.

 4               Q.       And I'm asking you, during your time

 5          as global safety officer you agreed with that?

 6               A.       I agreed --

 7               Q.       You wrote it?

 8               A.       -- that it was a reasonable

 9          assumption.

10               Q.       All right.    You go on to say, "I

11          cannot estimate the general incidents rate of

12          permanent alopecia when docetaxel is

13          administered in combination with other

14          chemotherapy agents based on the basis of only

15          two studies."

16                        Do you see that?

17               A.       Yes, I can see what I wrote.

18               Q.       And then you say, "I cannot say more

19          than 'persistent alopecia' was reported in 3

20          to 6 percent of patients in two studies where

21          adjuvant docetaxel was administered in

22          combination with doxorubicin and

23          cyclophosphamide for breast cancer."

24                        That's what you said, right?

25               A.       I wrote that.

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                         Exhibit E
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                           EXPERT REPORT

                        DAVID A. KESSLER, M.D.




                                   i
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information from the previous year that might affect the safety, effectiveness, or labeling of the

drug product. The report is also required to contain a brief description of the actions the applicant

has taken or intends to take as a result of this new information, for example, submit a labeling

supplement, add a warning to the labeling, or initiate a new study.” 76

           78.     If a drug manufacturer states on the label that a drug has risks that are similar to

other drugs in its class, but in fact there are scientific data that indicate that the drug has

increased risk compared to other drugs in the class, that label would be false or misleading under

the Food, Drug, and Cosmetic Act.

V.         KEY DEFINITIONS

           79.     The National Cancer Institute at the National Institutes of Health defines alopecia

as “[t]he lack of hair from areas of the body where hair is usually found. Alopecia can be a side

effect of some cancer treatments.” 77

           80.     According to a Sanofi leaflet distributed to healthcare providers, alopecia “is

another word for hair loss or thinning of the hair. It is a common, yet temporary, side effect of

some cancer medicines. Alopecia can occur anywhere on the body and may happen after a few

treatments.” 78

           81.     With respect to irreversible alopecia, the medical literature has generally defined

this condition as the “complete loss of growth or partial regrowth at least 6 months after

chemotherapy.” 79


76
     Id.
77
  National Cancer Institute Diction of Cancer Terms, available at
https://www.cancer.gov/publications/dictionaries/cancer-terms/def/alopecia (last visited Sep. 21, 2016).
78
     (Sanofi_01038470 at 5).
79
  See, e.g., Kim G, Kim S, Park H. et al. (2017). Chemotherapy-induced irreversible alopecia in early breast cancer
patients. Breast Cancer Res Treat 163:527-533; Namini S. (2016). Systematic Review of the Risk of Permanent
Alopecia with Docetaxel Treatment for Breast Cancer. J Clin Case Rep 6(8); Haider M, Hamadah I, Almutawa A.
                                                         20
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           82.      Over the last decade, Sanofi has defined irreversible alopecia multiple ways.

           83.      In an email dated March 16, 2010 regarding the social media communication plan

for Taxotere, Sanofi’s Global Safety Officer, Dr. Emanuel Palatinksy, wrote it was reasonable to

consider alopecia permanent if the alopecia lasted for more than four years following treatment

with Taxotere. 80

           84.      In Sanofi’s Periodic Safety Update Report (“PSUR”) dated January 18, 2011,

Sanofi attached Appendix 13 titled “Clinical Overview Docetaxel – Persistent Alopecia,” which

defined “persistent alopecia” as “alopecia nor[sic] recovered after 12 months from the end of a

chemotherapy regimen than included docetaxel.” 81

           85.      Sanofi subsequently changed its definition, stating that irreversible alopecia is

“alopecia lasting more than 2 years” 82 in response to a March 23, 2015 request by FDA for a

summary of irreversible alopecia cases associated with Taxotere use. 83

VI.        IRREVERSIBLE ALOPECIA MEETS FDA CRITERIA OF “SERIOUS”
           AND/OR “CLINICALY SIGNIFICANT”

           86.      As noted above, under FDA regulations, the Warnings and Precautions section of

drug labels must include serious and/or clinically significant adverse events” 84



(2013). Radiation- and Chemotherapy-Induced Permanent Alopecia: Case Series. J Cutaneous Med & Surgery
17(1):55-61; Kluger N, Jacot W, Frouin E. et al. (2012). Permanent scalp alopecia related to breast cancer
chemotherapy by sequential fluorouracil/ epirubicin/ cyclophosphamide (FEC) and docetaxel: a prospective study of
20 patients. Annals of Oncology 23(11):2879-2884; Tallon B. Blanchard E. Goldberg L. (2010). Permanent
chemotherapy-induced alopecia: Case report and review of the literature. J Am Acad Dermatol 63:333-6; see also
Sanofi_01021777 at 1.
80
     (Sanofi_05252079 at 2); see also Emanuel Palatinksy, M.D. Dep. 443:15-445:09.
81
  (Sanofi_00197757 at 8); (Sanofi_01397018 at 2); (Sanofi_05059757 at 1); Emanuel Palatinksy, M.D. Dep.
291:16-294:09.
82
  (Sanofi_04878450 at 4; see also (Sanofi_01021777 at 1); (Sanofi_00800098 at 3); (Sanofi_02664951);
(Sanofi_01268180 at 35).
83
     (Sanofi_04878450 at 7); (Sanofi_01268180 at 8).
84
     21 C.F.R. § 201.57(c)(6).

                                                        21
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                    UNITED STATES DISTRICT COURT                      APPEARANCES:
                   EASTERN DISTRICT OF LOUISIANA
                                                                      For the Plaintiffs:       Gibbs Law Group, LLP
                                                                                                BY: KAREN BARTH MENZIES, ESQ.
                                                                                                6701 Center Drive West
IN RE: TAXOTERE (DOCETAXEL)     *                                                               Suite 1400
PRODUCTS LIABILITY LITIGATION   *          Docket No.: 16 MD 2740                               Los Angeles, California 90045
                                *          Section "H(5)"
                                *          New Orleans, Louisiana
Relates to: Barbara Earnest     *          September 17, 2019
Case No.: 16 CV 17144           *                                     For the Plaintiffs:       Bachus & Schanker, LLC
* * * * * * * * * * * * * * * * *                                                               BY: J. KYLE BACHUS, ESQ.
                                                                                                        DARIN L. SCHANKER, ESQ.
                                                                                                1899 Wynkoop Street
                                                                                                Suite 700
                     DAY 2   AFTERNOON SESSION                                                  Denver, Colorado 80202
                  TRANSCRIPT OF JURY TRIAL BEFORE
                   THE HONORABLE JANE T. MILAZZO
                   UNITED STATES DISTRICT JUDGE
                                                                      For the Plaintiffs:       Fleming Nolen & Jez, LLP
                                                                                                BY: RAND P. NOLEN, ESQ.
APPEARANCES:                                                                                    2800 Post Oak Boulevard
                                                                                                Suite 4000
                                                                                                Houston, Texas 77056
For the Plaintiffs:               Barrios Kingsdorf & Casteix, LLP
                                  BY: DAWN M. BARRIOS, ESQ.
                                  701 Poydras Street
                                  Suite 3650                          For the Plaintiffs:       DAVID F. MICELI, LLC
                                  New Orleans, Louisiana 70139                                  BY: DAVID F. MICELI, ESQ.
                                                                                                Post Office Box 2519
                                                                                                Carrollton, Georgia 30112
For the Plaintiffs:               Gainsburgh Benjamin David Meunier
                                    & Warshauer, LLC
                                  BY: M. PALMER LAMBERT, ESQ.         For the Plaintiffs:       Morgan & Morgan, P.A.
                                  1100 Poydras Street                                           BY: EMILY C. JEFFCOTT, ESQ.
                                  Suite 2800                                                    700 S. Palafox Street
                                  New Orleans, Louisiana 70163                                  Suite 95
                                                                                                Pensacola, Florida 32502

For the Plaintiffs:               Pendley Baudin & Coffin, LLP
                                  BY: CHRISTOPHER L. COFFIN, ESQ.     For the Sanofi            Irwin Fritchie Urquhart
                                  1100 Poydras Street                 Defendants:                      & Moore, LLC
                                  Suite 2505                                                    BY: DOUGLAS J. MOORE, ESQ.
                                  New Orleans, Louisiana 70163                                  400 Poydras Street
                                                                                                Suite 2700
                                                                                                New Orleans, Louisiana 70130

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APPEARANCES:                                                                                    I N D E X
                                                                                                                            Page
For the Sanofi               Shook Hardy & Bacon, LLP
Defendants:                  BY: HARLEY V. RATLIFF, ESQ.
                                     JON A. STRONGMAN, ESQ.           DAVID KESSLER
                             2555 Grand Boulevard                          Direct Examination By Mr. Nolen:                    381
                             Kansas City, Missouri 64108                   Cross Examination By Mr. Strongman:                 388
                                                                           Redirect Examination By Mr. Nolen:                  506
                                                                      PROFFER
For the Sanofi               Shook Hardy & Bacon, LLP                      Examination By Mr. Strongman:                       528
Defendants:                  BY: HILDY M. SASTRE, ESQ.
                             201 Biscayne Boulevard, Suite 3200       PROFFER
                             Miami, Florida 33131                          Examination By Mr. Miceli                           534


Official Court Reporter:     Jodi Simcox, RMR, FCRR
                             500 Poydras Street
                             Room HB 275
                             New Orleans, Louisiana 70130
                             (504) 589 7780




Proceedings recorded by mechanical stenography, transcript
produced by computer.




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2:07PM    1   Taxotere labeling.           Okay?                                     2:09PM    1   Q.   Are you with me?
2:07PM    2   A.      Happy to talk about this case.                                 2:09PM    2   A.   I am, sir.       Thank you.
2:07PM    3   Q.    And one of the distinctions that was going on earlier was        2:09PM    3   Q.   All right.    In your report, in paragraph 81, what you say
2:07PM    4   you were talking about alopecia and whether or not that covered        2:09PM    4   is "With respect to irreversible alopecia, the medical
2:07PM    5   temporary and permanent.                                               2:09PM    5   literature has generally defined this condition as the complete
2:07PM    6                   Do you remember that?                                  2:09PM    6   loss of growth or partial regrowth at least six months after
2:07PM    7   A.      I remember that very well, sir.                                2:09PM    7   chemotherapy."       Correct?
2:07PM    8   Q.    Okay.      And I think, in your report, you actually talked      2:09PM    8   A.   Correct.      And then I go on.
2:07PM    9   about the phrase "irreversible alopecia."                              2:09PM    9                 MR. NOLEN:    Your Honor, may we approach?
2:07PM   10   A.      Several times, yes.                                            2:09PM   10                 THE COURT:    Yes.
2:07PM   11   Q.    Yeah.     And you have a footnote that says these terms are      2:09PM   11                (WHEREUPON, the following proceedings were held at
2:07PM   12   kind of interchangeable, "irreversible," "permanent."                  2:09PM   12   the bench.)
2:07PM   13   A.      Yes.     I think that's fair.                                  2:10PM   13                 MR. NOLEN:   Your Honor, Mr. Strongman is asking the
2:07PM   14   Q.    Very good.     And I want to make sure we're kind of talking     2:10PM   14   witness questions about what is in the witness's expert report,
2:07PM   15   on the same page here.                                                 2:10PM   15   and the report is not admitted into evidence. It will never be
2:08PM   16                   All right.   So in your report, you actually offered   2:10PM   16   admitted into evidence.
2:08PM   17   up      you have a section in your report called, I think, "Key        2:10PM   17                     The only thing the jury hears is what the jury
2:08PM   18   Definitions."                                                          2:10PM   18   heard today in his direct testimony.     If he has questions that
2:08PM   19   A.      I believe so.                                                  2:10PM   19   he wants to ask to try to impeach Dr. Kessler's opinions about
2:08PM   20   Q.      And in your                                                    2:10PM   20   the opinions he offered in this courtroom today, I think that's
2:08PM   21   A.      Would you like me to look            turn to it?               2:10PM   21   appropriate.
2:08PM   22   Q.      You certainly may.                                             2:10PM   22                    I don't think     they got to depose him after he
2:08PM   23   A.      Tell me what page.                                             2:10PM   23   rendered his opinions.      I don't think going into an expert's
2:08PM   24   Q.      Paragraph 81.                                                  2:10PM   24   underlying report and what he did not offer in this courtroom
2:08PM   25   A.      Thank you, sir.        Very kind.                              2:10PM   25   is appropriate.

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                                           DAVID KESSLER      CROSS                                                           DAVID KESSLER     CROSS



2:10PM    1                   MR. STRONGMAN: I don't see how me simply asking how    2:12PM    1   BY MR. STRONGMAN:
2:10PM    2   he defined the condition that it is he's saying we should have         2:12PM    2   Q.   Ready to proceed?
2:10PM    3   put in our label and in his report is in any way improper.             2:12PM    3   A.   I am.
2:10PM    4                   MR. NOLEN: I simply don't know how far it's going to   2:12PM    4   Q.   Very good.     So, Doctor, you can agree with me that your
2:10PM    5   go.                                                                    2:12PM    5   definition of "irreversible alopecia" is          in the medical
2:10PM    6                   THE COURT:    Well, I will tell you this, and I        2:12PM    6   literature, it was generally defined as six months with
2:10PM    7   think          this is an expert                                       2:12PM    7   complete loss of growth or partial regrowth; correct?
2:11PM    8                   MR. NOLEN:    I agree.                                 2:12PM    8   A.   I said the medical literature has generally defined it,
2:11PM    9                   THE COURT:       and I give a lot of latitude in       2:12PM    9   right, but do note some exceptions to that.
2:11PM   10   cross examination of experts.           I don't know where this is     2:12PM   10   Q.   Very good.      So there are       there are several other
2:11PM   11   going.                                                                 2:12PM   11   definitions in the literature as well; correct?
2:11PM   12                      I think if he begins     I think he can certainly   2:12PM   12   A.   Fair.    Certainly within Sanofi, et cetera.    And different
2:11PM   13   ask him a question of how do you define the condition on which         2:13PM   13   doctors, different publications have different definitions.
2:11PM   14   he's rendering his opinions.            I don't know if we need to     2:13PM   14   Q.   And, for example, we've seen definitions that go out to
2:11PM   15   reference the report.        It could be that you could just easily    2:13PM   15   12 months or 24 months, things like that; correct?
2:11PM   16   ask him, "Tell me what you think permanent alopecia is."               2:13PM   16   A.   Correct.
2:11PM   17                   MR. STRONGMAN:   I can do that, and I guess if he      2:13PM   17   Q.   Okay.    But you would agree with me that, most of the time
2:11PM   18   disagrees with me, that was part of why I didn't start with the        2:13PM   18   in the literature, it's six months.      That's the most common?
2:11PM   19   report, to make it easier.                                             2:13PM   19   A.   I think that's a reasonable period of time.     There's no
2:11PM   20                   THE COURT:    Of course.     Of course.                2:13PM   20   there's no magic to these numbers.
2:11PM   21                   MR. STRONGMAN:       Easy enough.                      2:13PM   21   Q.   Okay.     And what we saw also in the literature is          I
2:11PM   22                   THE COURT: I think it's fair, and it's certainly an    2:13PM   22   doubt you saw any definition for what you're calling
2:11PM   23   appropriate question.                                                  2:13PM   23   irreversible alopecia as being less than six months?
2:12PM   24                  (WHEREUPON, the following proceedings were held in      2:13PM   24   A.   I think that would be correct because, in general, you
2:12PM   25   open court.)                                                           2:13PM   25   know, before 2000, it was always expected, you know, that hair

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2:13PM    1   would grow back.      But sometimes it would take three to six       2:15PM    1   A.   Correct.
2:13PM    2   months for that to happen.                                           2:15PM    2   Q.   Okay.   And as we know, earlier when you were testifying
2:14PM    3   Q.   Okay.   And with that kind of framework, we've kind of got      2:15PM    3   about time frames, I think you may have said something about
2:14PM    4   some working definition here.       I want to talk a little bit      2:15PM    4   2009, maybe 2006, in terms of when a label should have been
2:14PM    5   about what is in the labeling.          Okay?                        2:15PM    5   changed.
2:14PM    6   A.   Sure.                                                           2:15PM    6                Do you remember that?
2:14PM    7   Q.   Okay.     And                                                   2:15PM    7   A.   When there was evidence of a         association or causal
2:14PM    8                MR. STRONGMAN:      May I approach, Your Honor?         2:16PM    8   association, yes.
2:14PM    9                THE COURT:     Yes, you may.                            2:16PM    9   Q.   But we can certainly agree that you're not offering any
2:14PM   10                THE WITNESS:     Thank you, Counsel.                    2:16PM   10   opinions that there was an inadequacy with regard to any kind
2:14PM   11   BY MR. STRONGMAN:                                                    2:16PM   11   of hair loss warning in the 1996 label; correct?
2:14PM   12   Q.   Of course.      Doctor, what I've handed you has been marked    2:16PM   12   A.   That would be correct, yes.
2:14PM   13   as Defendants' Exhibit 215.                                          2:16PM   13                MR. STRONGMAN:     May I approach, Your Honor?
2:14PM   14                And this is the 1996 approval letter from the FDA;      2:16PM   14                THE COURT:    Sure.
2:15PM   15   correct?                                                             2:16PM   15   BY MR. STRONGMAN:
2:15PM   16   A.   Correct, signed by Dr. Temple.                                  2:16PM   16   Q.   Doctor, I'm going to hand you what I've marked as Defense
2:15PM   17                MR. STRONGMAN:   And Sanofi would move into evidence    2:16PM   17   Exhibit 317.      If you could take a look at that.
2:15PM   18   Defendants' Exhibit 215.                                             2:16PM   18   A.   Yes.
2:15PM   19                THE COURT:     Any objection?                           2:16PM   19   Q.   And this is the approval letter from the FDA for the 2004
2:15PM   20                MR. NOLEN:     No objection, Your Honor.                2:17PM   20   Taxotere application; correct?
2:15PM   21                THE COURT:     Let it be admitted.                      2:17PM   21   A.   Correct.
2:15PM   22   BY MR. STRONGMAN:                                                    2:17PM   22   Q.   And included with the approval letter also is the
2:15PM   23   Q.   Okay.   And, Doctor, with the approval letter that we've        2:17PM   23   labeling; is that correct?
2:15PM   24   got here, Defendants' Exhibit 215, there's also the labeling         2:17PM   24   A.   Correct.
2:15PM   25   attached; correct?                                                   2:17PM   25                MR. STRONGMAN:     Defendants would move into evidence

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                                         DAVID KESSLER        CROSS                                                        DAVID KESSLER     CROSS



2:17PM    1   Defense Exhibit 317.                                                 2:18PM    1   reliable organization that puts out information into the
2:17PM    2                THE COURT:     Any objection?                           2:18PM    2   public; correct?
2:17PM    3                MR. NOLEN:     No objection, Your Honor.                2:18PM    3   A.   Correct.
2:17PM    4                THE COURT:     Let it be admitted.                      2:18PM    4   Q.   And they put out information about how terms are defined;
2:17PM    5   BY MR. STRONGMAN:                                                    2:18PM    5   correct?
2:17PM    6   Q.   And, Doctor, we can also agree, based on what you said          2:18PM    6   A.   They put     a lot of organizations may have glossaries or
2:17PM    7   this morning, that you've not offered any opinions that the          2:18PM    7   other things, yes.
2:17PM    8   labeling for Taxotere, as it relates to hair loss, was               2:19PM    8                MR. STRONGMAN:     May I approach?
2:17PM    9   inadequate in the 2004 labeling; correct?                            2:19PM    9                THE COURT:    Yes, you may.
2:17PM   10   A.   That would be fair.                                             2:19PM   10   BY MR. STRONGMAN:
2:17PM   11   Q.   And I asked you this already, but we can agree that the         2:19PM   11   Q.   Doctor, what I've handed you is entitled "The American
2:18PM   12   definition of "alopecia"       you've been asked this    it's hair   2:19PM   12   Cancer Society Breast Cancer Dictionary."
2:18PM   13   loss; correct?                                                       2:19PM   13                Do you see that?
2:18PM   14   A.   "Alopecia" means hair loss, correct.                            2:19PM   14   A.   Thank you very much.
2:18PM   15   Q.   And we can agree that "alopecia" was always in the              2:19PM   15   Q.   Okay.      It has a date of 2006 on it; correct?
2:18PM   16   Taxotere label; correct?                                             2:19PM   16   A.   I'll take you're representation.        I'm sure it's here
2:18PM   17   A.   "Alopecia" was in the Taxotere label.                           2:19PM   17   somewhere.      I'm just not seeing it, but I'll take your
2:18PM   18   Q.   And if I take out Webster's dictionary and look up              2:19PM   18   representation.
2:18PM   19   "alopecia," the definition will just be loss of hair; correct?       2:19PM   19                MR. STRONGMAN:   Permission to publish, Your Honor?
2:18PM   20   A.   I'm sure that would be correct.                                 2:19PM   20                THE COURT:    Is this in evidence?
2:18PM   21   Q.   And we talked about the American Cancer Society a little        2:19PM   21                MR. STRONGMAN:   This is a learned treatise.   It's a
2:18PM   22   bit earlier.                                                         2:19PM   22   reliable publication by a reliable organization.
2:18PM   23                Do you remember that?                                   2:20PM   23                THE COURT:   I think you're going to need to lay a
2:18PM   24   A.   Correct.                                                        2:20PM   24   foundation that's it's a learned treatise.
2:18PM   25   Q.   And the American Cancer Society, we established, is a                    25

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                        Exhibit G
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9     VIDEO TECHNICIAN: At this time will the

    10 court reporter swear in the witness.

    11 Whereupon,

    12           DAVID A. KESSLER, M.D.,

    13 being first duly sworn or affirmed to testify to

    14 the truth, the whole truth, and nothing but the

    15 truth, was examined and testified as follows:

    16    EXAMINATION BY COUNSEL FOR SANOFI DEFENDANTS

    17 BY MR. MCRAE:

    18     Q. Good morning, doctor. Please state your

    19 full name and business address for the record?

    20     A. 505 parnast avenue, San Francisco,

    21 California.

    22     Q. My name is Chris and I represent Sanofi


                               5
              UNCERTIFIED DRAFT TRANSCRIPT
_______________________________________________


    12     Q. Okay. Now, in your original report, you

    13 defined irreversible alopecia as alopecia that has

    14 not resolved at least six months after

    15 chemotherapy treatment, right?

    16        MS. JEFFCOTT: Object to form.

    17       THE WITNESS: I think we can pull -- I

    18 think there's a footnote on that. I think that
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19 I -- I mean, there are certain definitions, Sanofi

20 has had... I acknowledged, if my memory serves me,

21 about a year, two years. And I say when -- not

22 otherwise,b we'd have to get the exact language.


                            108
            UNCERTIFIED DRAFT TRANSCRIPT

 1 If there's not the definition, you can assume it's

 2 six months.

 3       But again, I think -- I do acknowledge

 4 there's multiple definitions.

 5 BY MR. MCRAE:

 6     Q. Sure. And I guess I was just asking,

 7 what's your definition? I understand there are

 8 multiple in the world. Dr. Kessler, what's yours?

 9    A. Well, I think we should allow for

10 purposes for trial for the clinical determination.

11 Right? Six months, my experience the hair starts

12 growing back six months after.

13     Q. Okay.

14     A. But I think the longer you give it, the

15 more certainty there is.
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                        Exhibit H
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                                            EXPERT REPORT OF

                                             Antonella Tosti, M.D.

                                                October 21, 2019



I am a Fredric Brandt Endowed Professor of Dermatology at the University of Miami. I have
been involved in the diagnosis and treatment of hair disorders for more than 30 years and see
hair patients on a daily basis in Miami and in Europe.

I was born and trained in Italy, and I was full Professor of Dermatology at the University of
Bologna until 2010. I have been full Professor at University of Miami since then.

I am among the developers of a new non-invasive method for the diagnosis of hair and scalp
disorders named dermoscopy or trichoscopy, and I published the first comprehensive paper on
this topic in 2006. 1 I have published many peer reviewed articles on trichoscopy, including a
recent article on trichoscopy of the black scalp 2 and the first book/atlas on hair and scalp
dermoscopy with pathological correlations in 2007. 3 The book was translated in other languages
and the 2nd edition of this book was published in 2015. 4 I have been invited to teach hair
disorders and trichoscopy worldwide, and have trained hundreds of dermatologists to utilize this
technique to properly examine their patients. 5

I was president and founding member of the European Hair Research Society (1989) and am
now president of the American Hair Research Society and president of the International Society
of Trichoscopy. I am editor of 30 Textbooks, including 6 on diagnosis and treatment of Hair
Disorders.

I am the author of more than 600 peer reviewed papers, with an h-index of 58 on Scopus. 6

My Curriculum Vitae, fee schedule, and prior deposition testimony are attached as Exhibits A,
B, and C, respectively.


1
  Elisabeth K. Ross, Colombina Vicenzi & Antonella Tosti, Videodermoscopy in the Evaluation of Hair and Scalp
Disorders, 55(5) J. AM. ACAD. DERMATOL. 799 (2006).
2
  Jorge Ocampo-Garza & Antonella Tosti, Trichoscopy of Dark Scalp, 5(1) SKIN APPENDAGE DISORD. 1-8 (2019).
3
  Antonella Tosti, Dermoscopy of Hair and Scalp Disorders: With Clinical and Pathological Correlations (1st ed.
2007).
4
  Antonella Tosti (ed.), Dermoscopy of the Hair and Nails (2nd ed. 2015).
5
  Antonella Tosti, WIKIPEDIA, https://en.wikipedia.org/wiki/Antonella_Tosti (Nov. 5, 2018).
6
  In 2005, the h-index was proposed by Jorge Hirsch, PhD and published in the Proceedings of the National
Academy of Sciences of the United States of America. Jorge E. Hirsch, An Index to Quantify an Individual’s
Scientific Research Output, 102(46) PROC. NATL. ACAD. SCI. U.S.A. 16569 (2005).
An h-index of 58 means that I have authored at least 58 publications that have each been cited at least 58 times.
Professor Hirsch reckons that after 20 years of research, an h-index of 20 is good, 40 is outstanding, and 60 is truly
exceptional. The advantage of the h-index is that it combines productivity (i.e., number of papers produced) and
impact (number of citations) in a single number.

                                                           1
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        FPHL may be caused by hormonal therapies with androgenic effects. Hormone receptor
        positive breast cancer has estrogen and/or progesterone receptors. These cancers are
        commonly treated with endocrine therapy to lower estrogen levels, such as aromatase
        inhibitors, or to block estrogen’s effects, such as Tamoxifen. Endocrine therapy can cause
        alopecia with a pattern similar to FPHL due to the miniaturization of the hair follicle. 17
        Endocrine therapy is not associated with follicular loss. According to a recent study,
        alopecia from endocrine therapy develops several months after therapy initiation (mean
        16.8 months) and is moderate (grade 1) in 92% of patients. 18

Permanent Alopecia After Chemotherapy (Permanent Chemotherapy-Induced Alopecia –
PCIA)




                                                                              19



Permanent Alopecia After Chemotherapy (also known as Persistent Alopecia After
Chemotherapy, Irreversible Alopecia after Chemotherapy, Permanent Chemotherapy-Induced
Alopecia or PCIA) is defined as incomplete hair regrowth after chemotherapy. 20 The precise
pathogenetic process is not known; however, it is likely due to the destruction or damage of the
hair follicle or dermal papilla stem cells. This is a severe long-term side effect of chemotherapy
that has been associated with high doses of chemotherapy in the context of bone marrow
transplantation 21 and, in more recent years, has been consistently identified in the context of
adjuvant chemotherapy regimens containing Taxotere/docetaxel for breast cancer. 22 PCIA was
first reported in this context in 2001: a clinical trial investigated the efficacy and toxicity of
Taxotere/docetaxel with doxorubicin and cyclophosphamide (TAC) as first-line chemotherapy

17
   See Azael Freites-Martinez, MD et al., Endocrine Therapy-Induced Alopecia in Patients with Breast Cancer,
154(6) JAMA DERMATOL. 670 (2018).
18
   Id.
19
   Azael Freites-Martinez, MD et al., Hair Disorders in Cancer Survivors, 80(5) J. AM. ACAD. DERMATOL. 1199-
1213 (2019).
20
   Miguel Martín et al., Persistent Major Alopecia Following Adjuvant Docetaxel for Breast Cancer: Incidence,
Characteristics, and Prevention with Scalp Cooling, 171(3) BREAST CANCER RES. TREAT. 627-34 (2018);
21
   See, e.g., Antonella Tosti, MD et al., Permanent Alopecia After Busulfan Chemotherapy, 152 BRIT. J. DERMATOL.
1056 (2005).
22
   See, e.g., Ben Tallon, MBChC et al., Permanent Chemotherapy-Induced Alopecia: Case Report and Review of the
Literature, 63(2) J. AM. ACAD. DERMATOL. 333 (2010). For the complete list of articles and abstracts I reviewed and
analyzed regarding permanent chemotherapy-induced alopecia in the context of adjuvant breast cancer
chemotherapy, see Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.

                                                        12
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for patients with metastatic breast cancer. 23 Of the 54 patients treated, long-lasting (longer than 2
years) alopecia occurred in 4 patients (7.4%). 24 Since then hundreds of cases have been
described in the literature, and the clinical features and course of PCIA have been characterized
by several retrospective and a few prospective studies. 25

Patients with PCIA develop Anagen Effluvium from chemotherapy and have incomplete hair
regrowth 6 to 8 months after the end of chemotherapy. Patients have moderate to very severe
hair thinning, with short miniaturized hairs. Hair thinning is diffuse but can be more prominent
on androgen-dependent scalp regions, and the condition can be misdiagnosed as Androgenetic
Alopecia at clinical examination and at pathology, even though in PCIA there is often a
reduction in the follicle number in addition to miniaturization. With PCIA, thinning of eyelashes
and eyebrows and other body hairs is also typical. 26 PCIA is graded as 1 or 2 depending on
severity (necessity to wear a wig = grade 2) and psychological impact according to the Common
Terminology Criteria for AEs (CTCAE) Version 4.0. 27

PCIA in patients receiving chemotherapy for breast cancer, outside the context of bone marrow
transplantation, is a relatively new described disease: the first cases were described in 2001, 28
when Taxotere was introduced in the chemotherapy regimens. The other two chemotherapy
agents that are commonly in Taxotere/docetaxel regimens—Adriamycin/doxorubicin (an
anthracycline) and cyclophosphamide—have been on the market since 1974 29 and 1959. 30

In the treatment of breast cancer, Taxotere/docetaxel are the only chemotherapy regimens that
have been consistently shown to cause Permanent Chemotherapy-Induced Alopecia. 31 I have


23
   J.M. Nabholtz et al., Phase II Study of Docetaxel, Doxorubicin, and Cyclophosphamide as First-Line
Chemotherapy for Metastatic Breast Cancer, 19(2) J. CLIN. ONCOL. 314-21 (2001).
24
   Id. at 318.
25
   See, e.g., S.M. Sedlacek, Persistent Significant Alopecia (PSA) from Adjuvant Docetaxel After
Doxorubicin/Cyclophosphamide (AC) Chemotherapy in Women with Breast Cancer, 100 BREAST CANCER RES.
TREAT. s116 (2006); Ben Tallon, MBChC et al., Permanent Chemotherapy-Induced Alopecia: Case Report and
Review of the Literature, 63(2) J. AM. ACAD. DERMATOL. 333 (2010); Antonella Tosti, MD et al., Docetaxel and
Permanent Alopecia, 68(5) J. AM. ACAD. DERMATOL. e151 (2013); Miguel Martín et al., Persistent Major Alopecia
Following Adjuvant Docetaxel for Breast Cancer: Incidence, Characteristics, and Prevention with Scalp Cooling,
171(3) BREAST CANCER RES. TREAT. 627-34 (2018); Danbee Kang et al., Permanent Chemotherapy-Induced
Alopecia in Patients with Breast Cancer: A 3-Year Prospective Cohort Study, 23 THE ONCOLOGIST 1 (2018). For
the complete list of articles and abstracts I reviewed and analyzed regarding permanent chemotherapy-induced
alopecia in the context of adjuvant breast cancer chemotherapy, see Exhibit E – Articles on Permanent Alopecia
Following Breast Cancer Chemotherapy.
26
   Nicolas Kluger et al., Permanent Scalp Alopecia Related to Breast Cancer Chemotherapy by Sequential
Fluorouracil/Epirubicin/Cyclophosphamide (FEC) and Docetaxel: A Prospective Study of 20 Patients, 23 Annals of
Oncology 2879 (2012).
27
   Azael Freites-Martinez, MD et al., Assessment of Quality of Life and Treatment Outcomes of Patients with
Persistent Postchemotherapy Alopecia, JAMA DERMATOL. (published online March 6, 2019).
28
   J.M. Nabholtz et al., Phase II Study of Docetaxel, Doxorubicin, and Cyclophosphamide as First-Line
Chemotherapy for Metastatic Breast Cancer, 19(2) J. CLIN. ONCOL. 314-21 (2001).
29
   https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=050467.
30
   https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=012141.
31
   J.M. Nabholtz et al., Phase II Study of Docetaxel, Doxorubicin, and Cyclophosphamide as First-Line
Chemotherapy for Metastatic Breast Cancer, 19(2) J. CLIN. ONCOL. 314 (2001); Ben Tallon, MBChC et al.,
Permanent Chemotherapy-Induced Alopecia: Case Report and Review of the Literature, 63(2) J. AM. ACAD.

                                                     13
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reviewed and analyzed 18 articles and abstracts regarding permanent chemotherapy-induced
alopecia in the context of adjuvant breast cancer chemotherapy—17 of which report distinct
cases of PCIA from Taxotere/docetaxel regimens, and 1 of which reports cases of PCIA from
unidentified taxane (Taxotere or Taxol) regimens. 32 In the adjuvant treatment of breast cancer,
there are only 39 cases of permanent alopecia reported with non-taxane regimens with
anthracyclines and cyclophosphamide in comparison with 497 reported cases with taxane
regimens—353 of which are Taxotere/docetaxel regimens. 33 Cases of alopecia lasting more than
6 months after the end of chemotherapy have been reported with the use of Taxotere in both
combination and monotherapy. 34 There is consistent, sufficient, and reliable evidence that
Taxotere/docetaxel, when used in regimens with anthracyclines and doxorubicin, is a
substantially contributing factor to PCIA. 35

I also co-authored an article published in 2019 in JAMA Dermatology that collected cases of
PCIA from three cancer centers. These cases included patients who received chemotherapy for
different types of cancer and not only breast cancer. 36 The aim of this study was evaluating the
quality of life of patients with PCIA and not the frequency of PCIA from any of the regimens;
therefore, this is not a prevalence study. 37 There were 80 cases of PCIA in regimens with
Taxotere/docetaxel or Taxol/paclitaxel and 18 cases reported in regimens without
Taxotere/docetaxel or Taxol/paclitaxel. 38 Taxotere/docetaxel and Taxol/paclitaxel are related
drugs—referred to as taxanes. The study does not provide any information about the prevalence
of PCIA from Taxotere/docetaxel versus Taxol/paclitaxel.

The studies I have analyzed in the aggregate demonstrate that Taxotere/docetaxel is far more
commonly reported as being associated with PCIA than any other chemotherapy regimen. 39 I
have also personally seen patients with PCIA from Taxotere/docetaxel regimens, but I have
never seen patients with PCIA from Taxol/paclitaxel or other non-Taxotere regimens. I saw my
first case of PCIA from Taxotere/docetaxel in 2006.

As a result of my analysis in the case, I learned that the randomized studies with Taxotere
regimens for breast cancer—sponsored by the manufacturer, Sanofi, revealed that Taxotere

DERMATOL. 333 (2010); Antonella Tosti, MD et al., Docetaxel and Permanent Alopecia, 68(5) J. AM. ACAD.
DERMATOL. e151 (2013). See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.
32
   See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.
33
   See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy. 349 cases were
reported with Taxotere/docetaxel regimens, and 4 cases were reported with Taxotere/docetaxel and Taxol/paclitaxel
regimens. 93 cases were reported with unidentified taxane regimens. Gun Min Kim et al., Chemotherapy-Induced
Irreversible Alopecia in Early Breast Cancer Patients, 163 BREAST CANCER RES. TREAT. 527-33 (2017).
34
   H. Bourgeois, Long Term Persistent Alopecia and Suboptimal Hair Regrowth After Adjuvant Chemotherapy for
Breast Cancer. 2009. Long Term Persistent Alopecia and Suboptimal Hair Regrowth after Adjuvant Chemotherapy
for Breast Cancer: Alert for Emerging Side Effect: French ALOPERS Observatory, 21(8) ANNALS OF ONCOL.
Viii83-84 (2010). 30(b)(6) Depositions of Michael Kopreski, MD, including all exhibits. Nanae Hangai, MD, PhD,
Global Safety Officer, “Clinical Overview: Docetaxel and Permanent Alopecia” Sanofi_00829529-65.
35
   See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.
36
   Azael Freites-Martinez, MD et al., Assessment of Quality of Life and Treatment Outcomes of Patients with
Persistent Postchemotherapy Alopecia, JAMA DERMATOL. (published online March 6, 2019).
37
   Id.
38
   Id. at E3. Among the 80 cases, 47 were paclitaxel regimens, 31 were docetaxel regimens, and 2 were paclitaxel
and docetaxel regimens.
39
   See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.

                                                       14
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regimens had a statistically increased rate of PCIA, when controlled for Adriamycin/doxorubicin
and cyclophosphamide. 40

I was able to review Sanofi’s data analysis in 2015, which concluded that Taxotere/docetaxel
chemotherapy regimens can cause permanent/irreversible alopecia:

                 Upon review of safety database, 117 cases (5.3% of total cases of
                 alopecia) were considered permanent alopecia (criteria:
                 “permanent” or “irreversible” in verbatim event or longstanding
                 (more than 2 years)) and have been reported in association with
                 docetaxel treatment. . . .

                 Based on review of the Sanofi global pharmacovigilance database,
                 worldwide scientific literature, clinical studies, and biological
                 plausibility, the cumulative weighted evidence is sufficient to
                 support a causal association between docetaxel and
                 permanent/irreversible alopecia in the patients who received
                 docetaxel. 41

There is consistent, sufficient, and reliable evidence that Taxotere/docetaxel, when used in in the
same regimen as anthracyclines and doxorubicin, is a substantially contributing factor to PCIA. 42

The three studies that compared AC regimens without Taxotere/docetaxel with regimens
containing Taxotere/docetaxel showed a much greater frequency and severity of PCIA in the
Taxotere/docetaxel regimens. These studies demonstrate that chemotherapy regimens that
include Taxotere/docetaxel are the substantial contributing factor and that Taxotere/docetaxel is
the causal variable for PCIA.

        Sedlacek (2006) 43
A retrospective prospective evaluation of consecutive treatment of 496 women with early-stage
breast cancer was published in 2006. The patients were treated by Dr. Sedlacek from January
1994 through December of 2004. The chemotherapy regimens compared:

            •    Group A: 258 patients administered doxorubicin and cyclophosphamide regimens
                 without taxanes (AC, FAC, A/CMF).

            •    Group B: 126 patients administered doxorubicin and cyclophosphamide plus
                 paclitaxel/Taxol (AC/T, AT/T, AC/T dose dense, ATC, AC/Herceptin).


40
   TAX 316 Clinical Study Report (Jan. 21, 2004) at p. 5, Sanofi_02640584. TAX 316 Clinical Study Report (Sept.
9, 2010) at p. 37, Sanofi_02645236. GEICAM 9805 Clinical Study Report (Nov. 9, 2009) at 111, Sanofi_01061868.
41
   Nanae Hangai, MD, PhD, Global Safety Officer, “Clinical Overview: Docetaxel and Permanent Alopecia”
Sanofi_00829563 (emphasis added).
42
   See Exhibit E – Articles on Permanent Alopecia Following Breast Cancer Chemotherapy.
43
   S.M. Sedlacek, Persistent Significant Alopecia (PSA) from Adjuvant Docetaxel After
Doxorubicin/Cyclophosphamide (AC) Chemotherapy in Women with Breast Cancer, 100 BREAST CANCER RES.
TREAT. s116 (2006).

                                                      15
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             •   Group C: 112 patients administered doxorubicin and cyclophosphamide plus
                 docetaxel/Taxotere (AC/Tax, ATax, ACTax, AC/TaxXeloda 44, AC/Tax
                 Herceptin 45, ATax/FAC, FAC/Tax).

The average time from the last dose of chemotherapy was 48 months (range 19 to 85 months).
Persistent significant alopecia, defined as <50% hair regrowth at least one year after
chemotherapy, developed in 7/112 (6.3%) of women treated with a Taxotere/docetaxel/
doxorubicin/cyclophosphamide-containing regimen. All were reported to be wearing wigs. No
persistent significant alopecia occurred in those treated with a Taxol/paclitaxel/doxorubicin/
cyclophosphamide-containing regimen, or in those treated with a doxorubicin/cyclophosphamide
regimen without a taxane.

        Kang et al. (2018) 46
A prospective cohort study, from February 2012 to July 2013, was conducted of 61 consecutive
patients with early stage breast cancer expected to receive adjuvant chemotherapy. The objective
of the study was to estimate the long-term incidence of PCIA in patients whose hair volume and
density were measured prior to chemotherapy and who were followed for three years after
chemotherapy.

The patient groups received one of three regimens:

             •   AC (doxorubicin plus cyclophosphamide),
             •   FAC (fluorouracil plus cyclophosphamide and doxorubicin), or
             •   AC-T (Taxotere after AC).

Patients’ hair was assessed prior to chemotherapy. Thereafter hair was assessed “on the first day
of chemotherapy, after two cycles of chemotherapy, at 1, 3, and 6 months after completion of
chemotherapy, and after 3 years after completion of chemotherapy.” 47 At each visit, “hair
density” and “shaft diameter” were “objectively quantified” using a dermatoscope. 48 The study
defined PCIA as “absent or incomplete hair regrowth at ≥6 months after chemotherapy . . . if hair
density or thickness was two standard deviations (SDs) or more below the baseline mean (before
chemotherapy).” 49

Additionally, the investigators ruled out a number of potential risk factors: “Patients with
alopecia, atopic dermatitis, psoriasis, or infectious skin diseases, as well as patients who were
taking steroids, antihistamines, antidepressants, or anticonvulsants were excluded from the
study.” 50


44
   Xeloda (generic Capecitabine) is a chemotherapy drug that can cause temporary hair loss but has not been
reported to cause permanent alopecia.
45
   Herceptin (generic Trastuzumab) is a targeted cancer drug that has not been reported to cause hair loss.
46
   Danbee Kang et al., Permanent Chemotherapy-Induced Alopecia in Patients with Breast Cancer: A 3-Year
Prospective Cohort Study, 23 THE ONCOLOGIST 1 (2018).
47
   Id at 2.
48
   Id.
49
   Id.
50
   Id.

                                                       16
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The study results demonstrated that Taxotere was strongly associated with PCIA: Patients with
Taxotere-based treatment had “about eight times higher odds of PCIA 3 years after completion
of chemotherapy (8.01; 95% CI, 1.20–53.26) adjusting for age, hair density, and thickness at
diagnosis.” 51 There were 23 cases of PCIA in the Taxotere group and only 3 with the
cyclophosphamide and anthracycline groups.

        Martín et al. (2018) 52
492 breast cancer patients with adjuvant treatment for breast cancer were studied for the
prevalence of PCIA in one institution in Spain between December 2005 and May 2006. Two
other institutions in Spain joined the prevalence study later to confirm the prevalence of grade 2
permanent alopecia. Grade 2 permanent alopecia was defined as severe alopecia that requires a
wig after at least 18 months from the end of chemotherapy. The median follow-up of patients
after the end of chemotherapy was 43 months (range 18-60 months). Grade 2 PCIA only
occurred in patients with Taxotere/docetaxel regimens.

The study also addressed the issue of whether regimens containing AC or EC cause permanent
alopecia in the absence of Taxotere/docetaxel. In the 306 patients receiving other chemotherapy
regimens (including AC/EC regimens alone or followed by Taxol/paclitaxel), there were no
cases of grade 2 permanent alopecia. The study also looked at patients receiving endocrine
therapy. There were no cases of permanent alopecia (even grade 1) in patients who received
tamoxifen without chemotherapy. The incidence of Taxotere/docetaxel-induced grade 2
permanent alopecia was similar in patients with (22/221, 9.96%) and without endocrine therapy
(14/137, 10.2%).

Diagnostic Ladder

I have attempted to review all of the medical records of the patient. The records reviewed are
listed in Exhibit D — Materials Consulted.

On June 4, 2019, I was able to perform an in-person evaluation of Cynthia Thibodeaux, and the
examination progress notes and photographs are attached as Exhibit F.

During my clinical examination of Ms. Thibodeaux, I took two scalp biopsies. Subsequently I
received and considered the dermatopathology report of Curtis Thompson, MD, which is
attached as Exhibit G.

     1) History

     Clinical history is very important for the correct assessment of hair disorders.

Cynthia Thibodeaux is a 73-year-old woman of African descent with a Caucasian
grandfather who was diagnosed with early stage breast cancer in January 2008 at the age


51
 Id. at 3.
52
 Miguel Martín et al., Persistent Major Alopecia Following Adjuvant Docetaxel for Breast Cancer: Incidence,
Characteristics, and Prevention with Scalp Cooling, 171(3) BREAST CANCER RES. TREAT. 627-34 (2018).

                                                      17
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                         Exhibit I
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        Expert Report of Ellen G. Feigal, M.D.
       MDL - 2740 Taxotere (Docetaxel) Products Liability Litigation

         Eastern District of Louisiana United States District Court
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      D. Brief Narratives of Clinical Studies

Nabholtz (2001): A phase 2 single arm clinical trial investigated the efficacy and toxicity of
Taxotere/docetaxel with doxorubicin and cyclophosphamide (TAC) as first-line chemotherapy
for anthracycline-naïve patients with metastatic breast cancer. Of the 54 patients treated, the
most common treatment-related chronic non-hematologic toxicity was alopecia, with long-
lasting (longer than 2 years) partial alopecia occurring in 4 (7.4%) patients.

Bertrand (2013): A prospective clinical study of scalp cooling investigated 79 patients treated
with fluorouracil, epirubicin, cyclophosphamide and docetaxel for early stage breast cancer
between July 2005 and December 2007 were included in this study. All patients received scalp
cooling during chemotherapy, and all patients underwent a clinical examination and
photographs of the scalp 5 years after the end of chemotherapy. 26 patients (32.9%) had
permanent alopecia, which was severe in 3 patients, moderate in 2 patients, and minimal in 21
patients.

Kang (2018): A prospective cohort study, from February 2012 to July 2013 was conducted at the
Samsung Medical Center in Seoul, Korea, of 61 consecutive patients with early stage breast
cancer expected to receive adjuvant chemotherapy at the outpatient breast cancer clinic. The
objective of the study was to estimate the long-term incidence of permanent chemotherapy-
induced alopecia (PCIA) in a cohort of patients with breast cancer whose hair volume and
density were measured prior to chemotherapy and who were followed for 3 years after
chemotherapy.

The patients received one of the following regimens: 1) doxorubicin and cyclophosphamide
(AC); 2) fluorouracil plus cyclophosphamide and doxorubicin (FAC), or 3) doxorubicin and/or
cyclophosphamide plus Taxotere/docetaxel). There were 32 patients who received a Taxotere-
based regimen, and 29 who received an AC or FAC regimen.

Patients were assessed prior to chemotherapy on the first day of chemotherapy, after 2 cycles of
chemotherapy, at 1, 3, and 6 months after completion of chemotherapy and at 3 years after
completion of chemotherapy. At each visit, hair density and hair shaft diameter were
objectively quantified by a phototrichogram using a Folliscope. 103 The study defined PCIA as



103   Danbee Kang et al., Permanent Chemotherapy-Induced Alopecia in Patients with Breast Cancer: A 3-Year
       Prospective Cohort Study, 23 THE ONCOLOGIST 1-7, 2 (2018).




                                                                                 55
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absent or incomplete hair regrowth at ≥6 months after chemotherapy. Incomplete hair regrowth
was defined as hair density or thickness was two standard deviations (SDs) or more below the
baseline mean (before chemotherapy). 104

To isolate the impact of chemotherapy on PCIA, the study excluded patients at baseline who
had alopecia, atopic dermatitis, psoriasis, or infectious skin diseases, as well as patients who
were taking steroids, antihistamines, antidepressants, or anticonvulsants. 105

The study results demonstrated that patients receiving Taxotere-based treatment had about
eight times higher odds of PCIA 3 years after completion of chemotherapy (OR 8.01; 95% CI,
1.20–53.26, p < .05) adjusting for age, hair density, and thickness at diagnosis. 106 There were 23
cases of PCIA in the Taxotere/docetaxel group and only 3 with the AC regimens.


Martín (2018): 492 breast cancer patients with adjuvant treatment for breast cancer were
studied for the prevalence of permanent chemotherapy-induced alopecia (PCIA) in 1 institution
in Spain between December 2005 and May 2006. Two other institutions in Spain joined the
prevalence study later to confirm the prevalence of grade 2 permanent alopecia. Grade 2
permanent alopecia was defined as complete alopecia that requires a wig after at least 18
months from the end of chemotherapy. Taking all 3 institutions together, the overall grade 2
PCIA occurred in 36 (10%) of 358 patients with Taxotere/docetaxel regimens reaching
cumulative doses of > 400 mg/m2 but not in 59 patients receiving lower cumulative doses (300
mg/m2) of Taxotere/docetaxel (e.g., dose response). The study also addressed the issue of
whether regimens containing doxorubicin and cyclophosphamide (AC) or epirubicin and
cyclophosphamide (EC) cause permanent alopecia in the absence of Taxotere/docetaxel. In the
306 patients receiving other chemotherapy regimens (including AC/EC regimens alone or
followed by paclitaxel) there were no cases of grade 2 permanent alopecia. The study also
looked at patients receiving endocrine therapy. There were no patients with grade 2 permanent
alopecia who received endocrine therapy without chemotherapy. The incidence of
Taxotere/docetaxel-induced grade 2 permanent alopecia was similar in patients with (22/221,
9.96%) and without endocrine therapy (14/137, 10.2%). The median follow-up of patients after
the end of chemotherapy was 43 months (range 18-60 months).




104   Id.
105   Id.
106   Id. at 3.


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Kim (2017): This study was a cross-sectional survey retrospectively identifying early breast
cancer patients who had received doxorubicin, cyclophosphamide alone or followed by a
taxane as neoadjuvant or adjuvant chemotherapy and were at least 6 months after cessation of
chemotherapy, with follow-up from completion of chemotherapy ranging from 6 months to 5
years. A questionnaire regarding alopecia as well as the measurement of hair density was
conducted. Among the 265 patients who responded to the questionnaire, 19 (7.2%) reported
severe alopecia (>50% of their scalp and lasting at least 6 months after the end of
chemotherapy). Of those reporting severe alopecia, 2.7% had received doxorubicin and
cyclophosphamide and 10.5% had also received a taxane. In the taxane regimens, 33.3% wore
wig vs. 10.7% on non-taxane regimen. Table 1 from the paper notes that 122 of the 265 patients
had chemotherapy-induced alopecia, and of this number 29 had not received a taxane-based
regimen, and 93 had received a taxane-based regimen. Multivariate analysis showed only the
chemotherapy regimen containing a taxane as an independent risk factor for pCIA (OR 4.75,
with 95% CI 2.29 - 9.86, p<.001). There was no significant difference for endocrine treatment.
Neither the publication, nor direct personal communication with the senior author revealed the
attribution by specific taxane. 107

Bourgeois (2010): A retrospective study, from May 2008 to May 2010, in which 108 cases of
persistent alopecia or suboptimal hair regrowth after adjuvant chemotherapy were reported
from 15 different institutions in OMIT (a network in France of the Drugs and Emerging
Therapeutics Observatory). Of these 108 cases, 104 (96%) had received Taxotere/docetaxel –
based treatment as adjuvant chemotherapy for their breast cancer. Of the 50 patients who
answered a questionnaire, 38% to 45% complained of a moderate to severe alteration of the
quality of their family and social lives. One year earlier (2009), Bourgeois had reported 61 of 63
cases after adjuvant chemotherapy with a Taxotere-containing regimen (fluorouracil +
epirubicin + cyclophosphamide followed by Taxotere). In a presentation for the 37th Annual
CTRC-AACR San Antonio Breast Cancer Symposium in 2014, Bourgeois provided an update on
ERALOP, a retrospective study using a self-questionnaire targeting patients treated with FEC –
Taxotere/docetaxel from 2008 to 2009 to estimate the incidence of persistent significant alopecia
at 6 months after the last course of chemotherapy. 829 patients received a questionnaire and
653 (79%) responded. Six months after the last Taxotere/docetaxel course, persistent significant
alopecia grade 2 was 8.6% (71 patients) and grade 1 was 32.6% (271 patients). At a median
follow-up of 3.7 years, persistent significant alopecia grade 2 was 3.5% (29 patients) and grade 1
was 30% (248 patients).




107   See footnotes 84 and 85, above.


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Sedlacek (2006): A retrospective evaluation of consecutive treatment of 496 women with
localized breast cancer. The patients were treated by Sedlacek from January 1994 through
December of 2004 in a retrospective prospective controlled cohort study of consecutive patients.
The chemotherapy regimens compared: Group A- 258 patients administered doxorubicin and
cyclophosphamide regimens without taxanes (AC, FAC, A/CMF). Group B- 126 patients
administered doxorubicin and cyclophosphamide plus paclitaxel/Taxol (AC/T, AT/T, AC/T
dose dense, ATC, AC/Herceptin). Group C- 112 patients administered doxorubicin and
cyclophosphamide plus docetaxel/Taxotere (AC/Tax, ATax, ACTax, AC/TaxXeloda, AC/Tax
Herceptin, ATax/FAC, FAC/Tax). Women who underwent high-dose chemotherapy with stem
cell rescue were excluded. Only patients with at least 1 year of follow-up post adjuvant
chemotherapy were included. The average time from the last dose of chemotherapy was 48
months (range 19 to 85 months). Persistent significant alopecia, defined as <50% hair regrowth
at least one year after chemotherapy, developed in 7/112 (6.3%) women with localized breast
cancer treated with a Taxotere/docetaxel/doxorubicin/cyclophosphamide containing regimen.
All were reported to be wearing wigs. No persistent significant alopecia occurred in those
treated with a Taxol/paclitaxel/doxorubicin/cyclophosphamide -containing regimen, or in those
treated with a doxorubicin/cyclophosphamide regimen without a taxane.

Crown (2017): Retrospective non-randomized cohort study of 300 patients with early stage
breast cancer treated with adjuvant therapy with 3 different treatments. A telephone interview
survey (approved by the Hospital audit committee) was conducted of early stage breast cancer
patients recorded in their database (St. Vincent University Hospital, Dublin, Ireland) who had
completed adjuvant or neo-adjuvant anthracycline and/or taxane-based chemotherapy on
clinical trials more than 1 year earlier and assessed as to the number and severity of ongoing
alopecia. Drug regimens were assessed with the following categories: Docetaxel regimen in 265
patients, anthracycline-non taxane regimen in 12 patients, and anthracycline + paclitaxel
regimen in 23 patients. Alopecia persisting more than 1 year after the completion of
chemotherapy was demonstrated in 40 patients in the docetaxel regimen, 1 patient in the
anthracycline-non-taxane regimen, and 3 patients in the paclitaxel regimen. For the 191 patients
receiving docetaxel and non-anthracycline regimen, there were 2 levels of cumulative exposure
of the docetaxel. The alopecia was significantly increased e.g., dose response was
demonstrated, with the higher cumulative dose of docetaxel i.e., at 300 mg/m2 (97 patients) the
incidence was 7%, all grade 1, and at a dose of 450 mg/m2 (94 patients) it was 20% with a higher
grade of alopecia (6% grade 2, 14% grade 1).

Thorp (2015): This retrospective study of prospectively evaluated patients (presented at the
CTRC-AACR San Antonio Breast Cancer Symposium in 2014), used a questionnaire sent in
October 2013 to 189 patients who had received docetaxel-based regimens for early stage breast



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cancer in 2010 at their regional cancer center. The aim of the study was to determine the
incidence, site, extent and duration of hair loss. Of the 189 questionnaires sent, 134 (71%) were
returned. Of the respondents, 21 (15.8%) noted significant scalp hair loss, 13 (9.8%) gave
equivocal responses, 99 (77.4%) had no significant scalp hair loss, and 1 patient did not answer
the scalp hair loss question. 16 patients noted use of wigs and hair extensions. Lack of hair was
also noted for a subset in other body areas, such as eyelashes and eyebrows. Long-term hair
loss (up to 3.5 years after the last chemotherapy with a Taxotere/docetaxel regimen) occurs in 10
to 15% of patients, and from responses to the questionnaire questions, had a significant impact
on the patients’ quality of life. Univariate and multivariate analyses showed no significant
association with other patient or treatment characteristics (e.g., endocrine treatment).

Freites-Martinez (2019): Eight-year retrospective, multicenter case study conducted between
January 2009 and July 2017 in patients referred to the dermatology service from two
comprehensive cancer centers and one tertiary-care hospital. The institutions included
Memorial Sloan Kettering, New York, the Institut Universitair du Cancer, Toulouse, France and
the dermatology service at University Federico II, Naples, Italy. Patients were eligible if they
received only systemic cytotoxic chemotherapy with a clinical diagnosis of PCIA or received
chemotherapy followed by endocrine therapies, but the alopecia was associated with endocrine
therapy. Standardized photographs of the scalp, trichoscopy to assess hair diameter and hair
density, and quality of life evaluations were conducted. Of 385 patients, 193 were excluded, and
192 included, including 98 with persistent alopecia attributed solely to chemotherapy, and 94
with alopecia attributed solely to endocrine therapy. Exclusions included 82 for chemotherapy-
induced alopecia, 40 for other potential causes of alopecia (e.g., androgenetic, thyroid-related,
telogen effluvium, targeted therapy, immunotherapy, and graft-vs-host disease) 35 for missing
data, 19 with previous scalp radiotherapy, and 17 for having a combined attribution of alopecia
from cytotoxic chemotherapy and endocrine therapy. 79 (81%) of the 98 patients with PCIA had
a diagnosis of breast cancer, and 89 (95%) of the 94 with alopecia attributed to endocrine
therapy had a diagnosis of breast cancer. The most common agent associated with PCIA was
taxane-based chemotherapy (80 patients with 47 on paclitaxel, 31 on docetaxel, and 2 with
both), and grade 2 alopecia was seen in 29 of 75 patients. It was not clear from the methods
section how the 385 patients were identified, nor the methodology for excluding more than half
of the patients. In addition, the loss to follow-up on the subset of 98 patients with PCIA was not
explained. Of the 98 in the PCIA category, only 75 of the 98 had clinical characteristics of their
alopecia noted, only 45 of the 98 had trichoscopy performed, and only 41 of the 98 had data on
quality of life; it was not clear how many in the subset of 75 or 45 or 41 patients had a diagnosis
of breast cancer, and the specific regimen used.




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Kluger (2012): This retrospective study analyzed the clinical and histological features of severe
permanent alopecia that was diagnosed between 2007 and 2011 in 20 breast cancer patients
receiving treatment of fluorouracil + epirubicin + cyclophosphamide followed by
Taxotere/docetaxel. One of the 20 had also received Taxol/paclitaxel, in addition to
Taxotere/docetaxel. Permanent alopecia was defined as absent or incomplete hair regrowth at >
6 months post-chemotherapy.        Health-related quality of life (QoL) was assessed by a self-
administered questionnaire, the Dermatology Life Quality Index (DLQI) and by whether or not
the patient permanently wore a medical hair prosthesis (wig). The DLQI is a validated, rapid
and highly sensitive test used in routine clinical practice to evaluate the QoL for various skin
diseases, and evaluates 10 items, with higher scores indicating greater impairment of QoL. The
mean DLQI in 18 patients administered the test was 8.66, compared to a mean of 0.5 in a healthy
population. Severe impairment was reported by 7 of the 18 patients (38%, score 11-20). 70%
(14/20) wore a hair prosthesis (i.e., a wig) or scarf (1 patient).

Fonia (2017): This retrospective study incorporated data from April 2010 through August 2013
and identified 10 breast cancer patients treated with Taxotere/docetaxel-based regimens (1 also
received paclitaxel in addition to Taxotere/docetaxel) who developed permanent alopecia
lasting more than 6 months after the end of chemotherapy. The follow-up was more than 18
months post-chemotherapy in all patients. Of the 10 patients with PCIA, all received docetaxel
regimens - 5 had no endocrine therapy, 7 had no anthracycline, and 4 had neither an
anthracycline or cyclophosphamide. One had received 3 cycles of docetaxel and 1 cycle of
paclitaxel. All 10 patients had alopecia of the scalp, and 3/10 also had hair loss of eyebrows and
eyelashes and 5/10 had loss of body hair. All patients had diffuse hair loss on their scalp with
residual sparse hair. After the end of chemotherapy, hair regrowth was partial in 9 of 10
patients, with minimal regrowth in 1 patient. The patient wore a wig and had slow but
complete hair regrowth within 6 months after starting treatment with topical minoxidil.

Miteva (2011): Describes a retrospective clinicopathological study of 10 cases of permanent
alopecia after systemic chemotherapy, in which 6 cases were breast cancer patients treated with
Taxotere/docetaxel. The histologic findings of permanent alopecia after chemotherapy were
those of a nonscarring alopecia. The cases came from patients who were referred for treatment
of hair loss to the Department of Dermatology (9 cases in Bologna, Italy and 1 case in Miami,
Florida). All were evaluated at least 12 to 24 months after the end of chemotherapy. The
severity of hair loss ranged from very severe to severe, and all women patients wore a wig.

Tallon (2010): This case report was of a woman with breast cancer, negative for ER and PR and
on no endocrine therapy and no anthracycline, presenting with persisting alopecia 13 months
after completion of adjuvant chemotherapy with a Taxotere/docetaxel-containing regimen. She
had no prior history of hair loss and had no pre-existing hair loss. Two weeks after the start of


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                                    EXPERT REPORT OF
                               Laura M. Plunkett, Ph.D., DABT
                                       October 21, 2019


I.     Training and Qualifications
       1.      I am a pharmacologist, toxicologist, United States Food and Drug Administration
(FDA) regulatory specialist and principal of a consulting company known as Integrative
Biostrategies, LLC. Integrative Biostrategies, based in Houston, Texas, is a consulting firm that
works at the interface of biological science, regulatory affairs and business decisions to provide
its clients with science-based solutions to issues associated with product development and
stewardship. Before joining Integrative Biostrategies in 2001, I was head of the consulting firm
known as Plunkett & Associates.


       2.      I am board-certified as a Diplomate of the American Board of Toxicology. I am a
member of several professional organizations and have authored or co-authored numerous
scientific publications. I have over twenty years of experience in the areas of pharmacology and
toxicology and have worked in both government and academic research. I have taught
pharmacology and toxicology at the undergraduate and postgraduate levels.


       3.      I received a B.S. degree in 1980 from the University of Georgia and a Ph.D. in
pharmacology from the University of Georgia, College of Pharmacy in 1984. My doctoral
research was focused in the area of cardiovascular pharmacology and specifically dealt with
delineating neurochemical mechanisms responsible for the cardiac toxicity of digitalis
glycosides.


       4.      From June 1984 through August 1986, I was a Pharmacology Research Associate
Training (PRAT) fellow at the National Institute of General Medical Sciences, Bethesda,
Maryland. I worked in a neurosciences laboratory of the National Institute of Mental Health. My
research focused on the role of various brain neurochemical systems involved in the control of
autonomic nervous system and cardiovascular function.



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referred to as “anagen effluvium”, which is the sudden, diffuse loss of anagen-phase, or growth-
phase hair, that occurs within days to weeks of exposure to an anti-neoplastic drug. Anagen
effluvium is more common and severe when there is a combination of anti-neoplastic agents
employed. This is the concept of additivity in pharmacology and toxicology (Eaton and Gilbert,
2013), which occurs when more than one drug or chemical that have common toxic effects are
given together.


       32.        Both docetaxel and paclitaxel use are known to cause reversible alopecia in
patients (see FDA labeling for Taxotere and Taxol). The toxic effect of drugs like docetaxel that
lead to hair loss include complete arrest of hair formation by direct toxic insult to the rapidly
dividing cells in the hair follicle (Trueb, 2009). Such alopecia typically is seen within two to four
weeks after treatment begins and hair regrowth is usually seen within six months of treatment
ending (Tallon et al. 2010). Thus, in most cases, when drug therapy is completed, the drug is
eliminated from the body and the hair will regrow. The lack of regrowth once drug exposure has
ceased is what distinguishes permanent, irreversible alopecia, which is recognized in the medical
literature as hair that fails to regrow or substantially regrow at least by six months after treatment
has ended (Tallon et al. 2010; Namini et al. 2016; Kim et al. 2017; Kang et al. 2018). Although
the general definition of hair loss still seen at six months after ending treatment is used in many
studies, clinical evidence indicates that the lack of regrowth has been reported to persist for years
(discussed below in more detail). Thus, the injury is not simply loss of hair but is failure of hair
to regrow after drug exposure has ceased.


       33.        Although many anti-neoplastic drugs are associated with reversible hair loss
during treatment, there is a difference in the propensity for the permanent, irreversible hair loss
that has been linked to Taxotere use as compared to many other drugs. Reviews of the issue of
irreversible alopecia generally describe it as a “rare” event with chemotherapy (Tallon et al.
2010). A review of the available data indicate that Taxotere has been associated with irreversible
hair loss to a greater extent than other chemotherapeutic drugs, including Taxol (discussed below
in more detail). In fact, the evidence linking Taxotere exposure with permanent, irreversible hair
loss includes controlled clinical trial data as well as epidemiological data (case series) and



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individual case reports. When the available evidence is considered, the weight-of-the-evidence
indicates it is biologically plausible that Taxotere can cause CIPAL/ PCIA.


           34.      The first report of docetaxel-induced irreversible hair loss appeared in the
scientific literature in 2001 (Nabholtz et al. 2001. J. Clin. Oncol. 19:314-321) and related to
results from an investigator that was participating in a Taxotere clinical trial. Patients had been
enrolled in a Phase II clinical study and the authors reported that the “most common treatment-
related chronic nonhematologic toxicity was alopecia (87%) with long-lasting (longer than 2
years) partial alopecia in four patients” (see Nabholtz paper page 318; Sanofi_00217670). The
percentage of patients at two years with irreversible alopecia was 4/54 or 7.4%; such a rate of
occurrence would be considered common (frequent) based on definitions provided by the World
Health Organization (WHO) for pharmacovigilance practices; WHO defines “very common” as
a rate > 1 in 10, “common” (frequent) as a rate > 1 in 1000 but < 1 in 10, “uncommon”
(infrequent) as a rate > 1 in 1000 but < 1 in 100, “rare” as a rate > 1 in 10,000 and < 1 in 1000,
and “very rare” as a rate < 1 in 10,000 5. Given that Dr. Nabholtz was an investigator for Sanofi
(see page 331 of Gustavson deposition), this paper was of particular importance.


           35.      In 2006, a presentation at the San Antonio Breast Cancer Symposium by Dr. S.M.
Sedlacek (Sedlacek, 2006) described clinical experience in treating breast cancer based on a
retrospective review of patient data in his clinical practice. His report would be considered a type
of epidemiological investigation. He reported that alopecia associated with docetaxel therapy as
an adjuvant to doxorubicin/cyclophosphamide chemotherapy was irreversible in some patients
(he called the condition “persistent significant alopecia” and abbreviated it as “PSA”). PSA rates
reported for the three different treatment groups in his study were 6.3% in women administered
doxorubicin plus Taxotere, 0% in women administered doxorubicin plus Taxol, and 0% in
women administered doxorubicin without a taxane. Again, the rate of irreversible alopecia (PSA)
reported by this physician would be considered a common adverse event in the Taxotere-treated
group (consistent with WHO definitions). The rate of occurrence of irreversible alopecia in
Taxotere-treated patients in this clinical population was higher as compared to Taxol and was not
a rare event. The comparison of Taxotere experience with and without doxorubicin allows for

5
    see http://www.who.int/medicines/areas/quality_safety/safety_efficacy/trainingcourses/definitions.pdf

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consideration of the contribution of each drug independently to the risk in the patients. Taxotere
use was associated with an increased risk of permanent, irreversible alopecia, a risk that was not
seen with use of doxorubicin alone or with doxorubicin combined with Taxol use. Therefore,
Taxotere carried an independent risk of CIPAL/ PCIA and was a substantial contributing factor
to the condition in the women studied.


        36.      In 2009, Prevezas and colleagues described clinical experience in their
dermatological practice with two patients that developed “irreversible and severe alopecia”; one
woman had received Taxotere and letrazole, while the other woman had received Taxol only.
The authors concluded with respect to the woman who had received Taxotere: “We think that the
irreversibility can be attributed only to the cytotoxic effect of docetaxel [Taxotere].” These case
reports of permanent, irreversible alopecia added to the evidence that began to accumulate
starting in 2001.


        37.      Also, in 2009, a presentation was made at the San Antonio Breast Cancer
Symposium by Dr. Hugues Bourgeois 6. Dr. Bourgeois summarized data collected from 15
private institutions and public hospitals in France and reported that adjuvant chemotherapy 7 can
lead to persistent alopecia or suboptimal hair regrowth in patients. The investigators based their
findings on case report forms for 82 patients (median age, 60 years) who received adjuvant
treatment for breast cancer and were completed by physicians between May 2008 and October
2009 (also a type of epidemiological investigation). Irreversible alopecia was reported in all of
the women. Dr. Bourgeois stated that he felt the 100 mg/m2 dosage of Taxotere was “too high”
as a recommended dosage and that he gives “them [his patients] the choice [of] 4 courses of
Taxotere with a [small percent chance] of permanent hair loss, or 12 weeks of Taxol with no risk
of permanent hair loss. For the efficacy, it is the same.”


        38.      In each of these papers and presentations reported through 2009, the authors were
describing a new finding of irreversible or irreversible alopecia, that was different than the
chemotherapy-induced alopecia that typically had been associated with taxanes previously, and

6
  http://www.mdmag.com/journals/obtn/2010/march2010/sabcs_interview_series
7
  Adjuvant chemotherapy is defined as additional cancer treatment after the primary treatment has been completed
that is given to decrease the risk of cancer reoccurrence.

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also appeared to be more common in Taxotere-treated patients. The authors attributed use of
Taxotere to a type of hair loss that was different than the drug-induced alopecia that is linked to
most chemotherapy drugs. When considered together, these papers provide evidence that it is
biologically plausible that Taxotere can cause CIPAL/PCIA as well as providing evidence that
CIPAL/ PCIA in patients receiving Taxotere is not rare.


       39.     In 2010, a literature review on chemotherapy-induced irreversible alopecia was
published (Tallon et al. 2010). The authors also described a case of irreversible hair loss in a
woman following standard dose chemotherapy with docetaxel, carboplatin and trastuzumab for
breast cancer. The authors suggested that docetaxel was the causative agent in their patient.
Important conclusions reached by the authors included the following:
   •   Chemotherapy-induced hair loss is typically considered completely reversible, but this is
       not always the case.
   •   Physicians and patients need to be aware of the rare possibility that alopecia following
       chemotherapy can be persistent.


       40.     In response to the publication by Tallon et al. (2010), a “Letter to the Editor” was
published regarding this paper in 2013 (Tosti et al. 2013). Tosti and colleagues reported that five
additional patients on docetaxel therapy had irreversible alopecia (Tosti et al. 2013). In their
letter, the physicians stated: “The real prevalence of this devastating long-term side effect of
docetaxel is unknown, and efforts should be made to understand the mechanism of follicle
destruction and to identify strategies for possible prevention.” Yet, clinical data from docetaxel
trials (Nabholtz et al. 2001; Sedlacek, 2006) had determined that irreversible alopecia was not a
rare event in their clinical populations, a finding that is supported by the results of another
Taxotere clinical trial known as TAX316 (discussed in detail below) where again the rate of
CIPAL/ PCIA was not rare.


       41.     Two additional papers appeared in the scientific literature in 2011 describing
docetaxel or paclitaxel use and irreversible alopecia (Miteva et al. 2011; Palamaras et al. 2011).
Miteva and colleagues reported on ten cases of irreversible alopecia, six of whom had been
treated with docetaxel (Miteva et al. 2011); the other patients in the case series included three

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patients treated with busulfan for acute myelogenous leukemia, and one patient treated with
cisplatin and etoposide for lung cancer. Notably, none of the women had a history of hair loss
before chemotherapy treatment, and their hematological and endocrine assessment were all
within normal ranges. The authors stated: “Permanent alopecia after chemotherapy is unique for
2 reasons: (1) it is not reversible and (2) it is not cicatricial. In fact, the pathology shows lack of
fibrosis and a preserved number of follicular units. This makes this condition very difficult to
recognize under the microscope. It is likely that most pathologists would sign such cases as AGA
if not provided with the clinical information.” [see page 350 of Miteva et al. 2011] In the second
paper, Palamaras and colleagues described a retrospective chart study of patients who had
attended their dermatology practice for treatment of hair loss during the previous seven years.
They compared their findings with reports identified by a literature search. Of the seven patients
they found in their practice with persistent or irreversible alopecia, five were women that had
been exposed to docetaxel (Taxotere) as part of a chemotherapeutic regimen while two other
women had been exposed to busulphan. The authors also reported that on histopathologic
examination, the patients scalp tissue showed “a marked reduction of follicular units with an
increase in vellus hair formation and absence of any significant inflammation or scarring”,
findings they stated were similar to those of Prevezas and colleagues where patients had been
treated with taxanes.


       42.     In 2012, docetaxel-associated irreversible alopecia again was reported in patients
being treated for breast cancer with taxanes (Bourgeois et al. 2012; Kluger et al. 2012). The
publication by Bourgeois and colleagues is an abstract from the 35th annual meeting of the San
Antonio Breast Cancer Symposium (2012) where the authors reported on cases of irreversible
alopecia in a French database (ALOPERS). The database contained more than 100 patients with
persisting alopecia and the authors stated that docetaxel was the drug linked with the adverse
event in a majority of the patients. The authors concluded that docetaxel 75–100 mg/m2 was the
common agent in the majority of patients and that 43% of patients lacked hair regrowth more
than 24 months after their last chemotherapy infusion. They also concluded: “Optimal
information of patients about alopecia and persisting alopecia appears to be mandatory before
treatment: 47% of patients undergo a psychological shock during hair loss.” They pointed to the
results of a Taxotere clinical trial finding to support their conclusions. They stated: “Moreover,

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Docetaxel and Irreversible Alopecia
David Madigan, PhD

1. Background
   1. I am Professor of Statistics, former chair of Statistics, and former Executive Vice-
      President of Arts and Sciences and Dean of the Faculty of Arts and Sciences at
      Columbia University in New York City. I was chair of the Columbia Department of
      Statistics from 2008 to 2013. I served as EVP and Dean from 2013 to 2018. I
      received my bachelor’s degree in Mathematical Sciences from Trinity College Dublin
      in 1984 and was awarded the College's gold medal. In 1990, I received a Ph.D. in
      Statistics, also from Trinity College. I have worked in the past for KPMG, SkillSoft,
      University of Washington, AT&T Labs, and Soliloquy Inc. From 2005 to 2007 I was
      Professor of Statistics and Dean of Physical and Mathematical Sciences at Rutgers
      University. Prior to serving as Dean I was Director of the Rutgers University
      Institute of Biostatistics. I am an elected Fellow of both the Institute of
      Mathematical Statistics and the American Statistical Association, as well as the
      American Association for the Advancement of Science, and was the 36th most cited
      mathematician worldwide from 1995-2005. I was an Institute of Mathematical
      Statistics Medallion Lecturer in 2009. I served a term as the Editor of Statistical Science
      from 2008 to 2010, the highest impact journal in Statistics.

   2. I have published more than 180 technical papers on Bayesian statistics, biostatistics,
      pharmacovigilance, statistical graphics, Monte Carlo methods, computer-assisted
      learning, information retrieval, and text mining. Within the last few years I have
      consulted for Clarus Therapeutics, Jarvik Heart, Lilly, Merck, Novartis, and Pfizer on
      a variety of issues, many related to drug safety. In the past, I advised Boehringer
      Ingelheim on issues related to pharmacovigilance. I have considerable statistical
      experience with clinical trials including the design and analysis of pain studies at the
      University of Washington and the Fred Hutchinson Cancer Research Center, and
      more generally as a statistical consultant to multiple internal and external clients,
      particularly while I was director of the Institute of Biostatistics at Rutgers University,
      and continuing with Shire and Bayer.

   3. Drug safety is one of my significant research interests, with a focus on the
      development and application of statistical methods for pharmacovigilance. I have
      published my work in Drug Safety, Pharmacoepidemiology and Drug Safety, Therapeutic
      Advances in Drug Safety, Epidemiology, the American Journal of Epidemiology, and other
      journals. I have also served as an investigator in the Mini-Sentinel project. Mini-
      Sentinel is a pilot project sponsored by the FDA to inform and facilitate
      development of a fully operational active surveillance system, the Sentinel System,
      for monitoring the safety of FDA-regulated medical products. In 2010-11, I led the
      Mini-Sentinel Working Group on case-based methods in active surveillance. In
      addition, from 2010 to 2013 I was a Principal Investigator for the Observational
      Medical Outcomes Partnership (OMOP), a public-private partnership between the
      FDA and the pharmaceutical industry. The partnership conducted a multi-year
      initiative to research methods that are feasible and useful to analyze existing


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5. Analysis of Internal Safety Databases

   49. I conducted an analysis of Sanofi’s global pharamacovigilance database to identify
       reports of irreversible alopecia. The manufacturer conducted similar analyses that I
       discuss below. To identify reports of irreversible alopecia, Dr. Antonella Tosti,
       Professor of Dermatology and Cutaneous Surgery at the University of Miami Miller
       School of Medicine, provided the following list of search terms:

          •   permanent
          •   irreversible
          •   bald
          •   baldness
          •   chronic
          •   persistent
          •   hair never grew back
          •   still have no hair
          •   no hair regrowth
          •   hair not regrowing
          •   hair has not returned
          •   alopecia ongoing

      Drs. Feigal and Plunkett confirmed this selection of terms. I added linguistic
      variations to these search terms (also confirmed by Dr. Tosti) - I provide my perl
      code in Appendix 5.

   50. My analysis yields 311 reports. The second column of Table 6 below shows the
       accumulation by year. The third column excludes reports with either an outcome of
       “recovered” or an end date. The rightmost column shows the number of irreversible
       reports as a percetange of all alopecia reports.

   Table 6. Cumulative reports of irreversible alopecia in Sanofi’s global pharmacovigilance
   database

                                           Cumulative Number of     Number of Reports
                                             Reports Excluding    Excluding “Recovered”
                Cumulative Number              “Recovered”        as % of Total Alopecia
    Year           of Reports                                            Reports
       1999                            6                        6                 14.3%
       2001                            7                        7                  0.2%
       2002                            8                        8                  0.3%
       2003                           14                       12                  5.7%
       2004                           22                       20                  8.5%
       2005                           30                       28                 20.5%
       2006                           37                       34                  6.3%


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          2007                          42                           39                       8.3%
          2008                          50                           47                      11.6%
          2009                          84                           78                      40.3%
          2010                         176                          156                      52.3%
          2011                         197                          175                      16.4%
          2012                         227                          203                      26.2%
          2013                         267                          241                      31.7%
          2014                         291                          264                      23.5%
          2015                         311                          282                      22.5%


      51. On 18 January 2011 Sanofi conducted an analysis of irreversible alopecia in their
          global pharamacovigilance database through 9 December 2010. 47 Dr. Emanuel
          Palatinsky authored the report. Alopecia events were identified by the MedDRA
          Higher Level Term “alopecias.” The search identified 142 reports of irreversible
          alopecia defined as not recovered 12 or more months after the last dose of
          chemotherapy. The analysis excluded reports with an unknown outcome and reports
          where the latest outcome was reported less than 12 months following the last dose of
          chemotherapy. The report concluded that these 142 reports “revealed no evidence of
          a causal relationship” between docetaxel and irreversible alopecia.

      52. On 11 November 2015 the manufacturer conducted another analysis of the global
          pharamacovigilance database, this one authored by Dr. Nanae Hangai. Specifically,
          Sanofi performed a cumulative search to 7 October 2015 for alopecia reports. 48
          Alopecia events were identified by the MedDRA Higher Level Term “alopecias.”
          The search identified 117 reports of irreversible alopecia defined as having either
          “permanent” or “irreversible” mentioned in the verbatim section of the report, or,
          alopecia that lasted more than 2 years with an outcome of not recovered, recovering,
          or unknown.

      53. On the basis of the totality of the evidence available to it, Sanofi concluded that the
          “cumulative weighted evidence is sufficient to support a causal association between
          docetaxel and permanent/irreversible alopecia.” The information available to Sanofi
          at this time was not appreciably different from what was available at the time of the
          2011 report. In fact, that report used a different definition of irreversible alopecia
          that yielded a larger number of cases. My own analysis in Table 4 using Dr. Tosti’s
          definition shows that the number of reports of irreversible alopecia surpassed 117
          sometime in 2010.

      54. I note that it is not possible to directly calculate the rate at which irreversible alopecia
          occurs in the population (either per person or per person-time) from spontaneously
          reported events such as those in Sanofi’s database. The FDA’s 2005 Guidance for

47
     Sanofi_04353204/Sanofi_04353204
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     Sanofi_00829788


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      Industry on “Good Pharmacovigilance Practices and Pharmacoepidemiologic
      Assessment” states:
         “In pharmacoepidemiologic studies (see section V.A), the numerator (number of
         new cases) and denominator (number of exposed patients and time of exposure
         or, if known, time at risk) may be readily ascertainable. In contrast, for
         spontaneously reported events, it is not possible to identify all cases because of
         under-reporting, and the size of the population at risk is at best an estimate.”
      Spontaneously reported events do permit calculation of reporting rates (as utilized in
      my FAERS analysis above) but the FDA goes on to state:
         “Reporting rates can by no means be considered incidence rates, for either
         absolute or comparative purposes.”


6. Irreversible Alopecia in Observational studies

   55. My searches yielded four studies:

      Crown, J., Walshe, J., Fennelly, D., Long, J.C., Cairney, S., McDonnell, D., Ballot, J.,
      Wildes, D., Sills, E. and Gullo, G. (2017). Incidence of permanent alopecia following
      adjuvant chemotherapy in women with early stage breast cancer. Annals of
      Oncology, 28(suppl_5).

      Kang, D., Kim, I.R., Choi, E.K., Im, Y.H., Park, Y.H., Ahn, J.S., Lee, J.E., Nam, S.J.,
      Lee, H.K., Park, J.H. and Lee, D.Y. (2019). Permanent Chemotherapy‐Induced
      Alopecia in Patients with Breast Cancer: A 3‐Year Prospective Cohort Study. The
      Oncologist, 24(3), pp.414-420.

      Martín, M., de la Torre-Montero, J.C., López-Tarruella, S., Pinilla, K., Casado, A.,
      Fernandez, S., Jerez, Y., Puente, J., Palomero, I., del Val, R.G. and del Monte-Millan,
      M. (2018). Persistent major alopecia following adjuvant docetaxel for breast cancer:
      incidence, characteristics, and prevention with scalp cooling. Breast Cancer Research and
      Treatment, 171(3), pp.627-634 (and correction pp.635-636)

      Sedlacek, S. (2006). Persistent significant alopecia (PSA) from adjuvant docetaxel
      after doxorubicin/cyclophosphamide (AC) chemotherapy in women with breast
      cancer. Breast Cancer Research and Treatment, 100.

   56. Table 7 below summarizes the findings.

  Table 7. Reports of irreversible alopecia in observational studies
Study     Docetaxel Non-               Odds        Fisher         Endpoint
                         Docetaxel Ratio           Exact
                                                   Test
Crown     39/260         4/35          1.37        p = 0.80       Severe/total ongoing
                                                                  alopecia @ greater than 1
                                                                  year



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 Kang         See text                      8.01        n/a             Permanent
              below                                                     chemotherapy-induced
                                                                        alopecia @ 3 years
 Martín 49    98/417         24/306         3.61        p = 1.2 ×       Persistent alopecia @ 1.5
                                                        10-8            to 5 years
 Sedlacek 7/112              0/384          54.7        p = 2.6 ×       Persistent significant
                                                        10-5            alopecia @ greater than 1
                                                                        year


      57. Kang et al. do not provide raw counts by regimen but, comparing docetaxel to non-
          docetaxel regiments, they report an odds ratio of 8.01 (95% confidence interval 1.20-
          53.26). Their analysis adjusted for age, hair density, and thickness at diagnosis.

      58. A random effects meta analysis of these four studies yields an odds ratio of 4.13,
          95% confidence interval ( 1.44 , 11.81 ), p=0.008. I note that there is some between-
          study heterogeneity, I2=62.9%, albeit not statistically significant (Q=7.10, p=0.07).
          Appendix 6 provides the R code.

7. Irreversible Alopecia in the TAX 301 and TAX 316 studies
      59. TAX 316 was a phase 3 controlled trial that randomized patients with high-risk
          operable breast cancer with negative axillary lymph nodes to either docetaxel (TAC)
          or 5-fluorouracil (FAC), both provided in combination with doxorubicin and
          cyclophoasphamide. The study began in 1997 and the last patient visit occurred in
          Janaury 2010. Study treatment comprised six 3-week cycles. Follow-up visits were to
          be every 12 weeks for the first two years, every six months for years 3 to 5, and then
          annually for 10 years.

      60. TAX 301 was a similar phase 3 controlled trial that also randomized patients with
          high-risk operable breast cancer with negative axillary lymph nodes to either
          docetaxel (TAC) or 5-fluorouracil (FAC), both provided in combination with
          doxorubicin and cyclophoasphamide. The study began in 1999. Study treatment
          comprised six 3-week cycles. Follow-up visits were to be every 12 weeks for the first
          two years, every six months for years 3 to 5, and then annually for 10 years.

      61. The majority of patients in TAX 316 experienced alopecia while on treatment (98%
          of TAC patients and 97% of FAC patients). At study completion, 29 of 744 TAC
          patients had ongoing alopecia as compared with 16 of 738 FAC patients (risk ratio
          1.79, 95% confidence interval ( 0.98 , 3.27 )). Of note, for 661 TAC patients and 629
          FAC patients, resolution of alopecia is explicitly noted in the clinical trial data. Figure
          4 below shows the follow-up times for the patients with ongpoing alopecia at study
          completion.



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     Personal communication, 20th September 2019.


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Figure 4. Follow up times for the 45 patients with ongoing alopecia at the completion of
TAX316

   62. The majority of patients in TAX 301 also experienced alopecia while on treatment
       (97% of TAC patients and 98% of FAC patients). Unfortunately, the trial data fail to
       explicitly capture either the continuation of alopecia into the follow-up phase or
       alopecia resolution for the majority of patients. Only 49 of the 531 TAC and 35 of
       the 520 FAC patients were noted as having alopecia in follow-up. Of the 49, 3 were
       unresolved at study completion as compared with 1 unresolved in the FAC group.
       Given that the patients enrolled in TAX 316 and TAX 301 were very similar, I know
       of no reason for this striking asymmetry between the two studies. All but 9 of the
       531 TAC patients had at least one year of follow-up but inexplicably, alopecia status,
       whether resolved or not, failed to be recorded for the majority of patients. I note that
       the 49 TAC patients with alopecia recorded in follow-up were concentrated in just
       12 of the 55 study sites; phrased differently, 43 of the 55 study sites failed to record a
       single patient with alopecia in follow-up. More than half of the 49 patients (26) were
       in two particular sites with site-specific follow-up alopecia rates exceeding 80%

   63. Follow-up in TAX 301 for non-alopecia adverse events also seems to be poor: 137
       of 1,051 patients in 301 have non-alopecia AEs in followup as compared with 1,267
       of 1,480 patients in 316.




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     64. I also considered the elapsed time between the end of treatment (plus 30 days) and
         any alopecia resolution. Table 8 below shows the results. 50

         Table 8. Numbers of patients with resolution of alopecia within different periods of
         time from the beginning of follow-up.
                                          TAX 316
        Not resolved within:    TAC (n=744) FAC (n=736) Rate Ratio              p-value
        22 weeks                178              141             1.25           0.026
        6 months                112              82              1.35           0.026
        12 months               53               27              1.94           0.003
        24 months               36               19              1.87           0.022
        60 months               31               16              1.92           0.029
        120 months              29               16              1.79           0.053
                                          TAX 301
        Not resolved within:    TAC (n=531) FAC (n=520) Rate Ratio              p-value
        22 weeks                11               2               5.39           0.013
        6 months                9                1               8.81           0.012
        12 months               4                1               3.92           0.186
        24 months               3                1               2.94           0.327
        60 months               3                1               2.94           0.327
        120 months              3                1               2.94           0.327

     65. Following the interim analysis, Sanofi produced a series of Safety Update Reports
         (SURs) for TAX 316 and Table 9 shows the irreversible alopecia finding as of the
         dates of these reports. Equivalent reports for TAX 301 appear no to be available but
         had already reached 3-versus-1 by the cutoff date of the TAX 301 interim analysis.




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  This analysis uses SAS data files from SA-VOL-170. I note the the same analysis using the
SAS files from SA-VOL-208 yields slightly different but qualitatively indistinguishable
results.


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         Table 9. Numbers of patients with resolution of alopecia as presented in successive
         Safety Update Reports.
                                          TAX 316
        Report Year:            TAC (n=744) FAC (n=736) Rate Ratio              p-value
        2004 (interim)          22               9               2.42           0.020
        2005                    21               8               2.60           0.016
        2006                    21               8               2.60           0.016
        2007                    21               8               2.60           0.016
        2008                    21               8               2.60           0.016
        2009                    21               8               2.60           0.016
                              Random Effects Meta-Analysis
        Report Year:            TAC              FAC             Rate Ratio     p-value
        2004 (interim)          25               10              2.47           0.015
        2005                    24               9               2.63           0.013
        2006                    24               9               2.63           0.013
        2007                    24               9               2.63           0.013
        2008                    24               9               2.63           0.013
        2009                    24               9               2.63           0.013

  66.       A random effects meta-analysis combining the data from the two studies at
            completion yields a rate ratio of 1.85 with a corresponding 95% confidence
            interval ( 1.04 , 3.31 ) and a p-value of 0.04. Fixed effects meta-analysis, both
            classical and exact, and pooled analysis yield similar findings. Appendix 7
            provides the R code.

8. Summary
  67.       Based on my education, training and experience, and the data analyzed herein,
            including the identification of safety signals in FAERS in the 2000’s, my analyses
            of Sanofi’s internal pharmacovigilance database, my review of observational
            studies, and the results from Sanofi’s TAX 316 and TAX 301clinical trials, there
            is adequate statistical evidence that Taxotere (docetaxel) causes permanent/
            irreversible alopecia. This statistical evidence was available to Sanofi years before
            Sanofi reached its conclusion in 2015 that there is a causal association between
            Taxotere (docetaxel) and permanent/ irreversible alopecia.




        David Madigan, PhD
        October 20th, 2019




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